 Case 20-30208          Doc 181          Filed 03/14/23 Entered 03/14/23 09:15:19             Desc Main
                                         Document      Page 1 of 36

                               UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF NORTH CAROLINA
                                      CHARLOTTE DIVISION

 In re:                                                )
                                                       ) Case No.: 20-30208
 RAY and CYNTHIA KENNEDY,                              )
                                                       )
                                                       ) Chapter 11
                              Debtors.                 )

                    CHAPTER 11 POSTCONFIRMATION REPORT
REPORTING PERIOD:

           FROM:                                  December 1, 2022

           TO:                                    December 31, 2022

DATE PLAN CONFIRMED:                              January 28, 2022

EFFECTIVE DATE OF PLAN:                           March 29, 2022
                                                    Effective Date has not yet occurred.

ESTIMATED CLOSING DATE:                           May 1, 2023

I certify under penalty of perjury that the information contained in this Postconfirmation Report is true and
correct to the best of my knowledge and belief.

  DEBTOR / TRUSTEE /                                   DEBTOR 2 (if applicable):
  LIQUIDATING AGENT:

  Signature: __________________________                Signature: __________________________

  Printed:       (see p. 2 signature of Ray Kennedy)   Printed:    (see p. 2 signature of Cynthia Kennedy

  Title:         Individual                            Date:        January 31, 2023

  Date:          January 31, 2023

Penalty for making a false statement or filing a false report: Fine of up $500,000.00 or imprisonment for
                            up to 5 years or both. 18 U.S.C. §§ 152 and 3571.

DESCRIPTION OF PROGRESS TOWARD CONSUMMATION OF PLAN & CASE CLOSING:
What conditions to the effective date of the plan have and have not occurred? What other specific matters
does the Court need to resolve prior to closing the case (e.g., adversary proceedings, claim disputes, filing
fee applications, etc.)? Please indicate the nature of each matter and an estimated time frame that these
matters will be resolved:
Case 20-30208   Doc 181   Filed 03/14/23 Entered 03/14/23 09:15:19   Desc Main
                          Document      Page 2 of 36
                             Case 20-30208      Doc 181     Filed 03/14/23 Entered 03/14/23 09:15:19                                    Desc Main
                                                            Document      Page 3 of 36



     Check here if attaching an income statement in lieu of this cash receipts and disbursements page.

                                                CASH RECEIPTS AND DISBURSEMENTS
                                                                           Account                     Account                       Account                     Account                     Account
                                                                        (-0499)                     (-9735)                    (-       )                  (-       )                  (-       )
                                                  Totals          last 4 digits of acct no.   last 4 digits of acct no.   last 4 digits of acct no.   last 4 digits of acct no.   last 4 digits of acct no.
Beginning Cash Position (G/L Balance)              $148,173.23          $144,821.75                     $3,351.48

Total Cash Receipts                                  $41,465.08           $41,465.06                          $0.02

Cash Disbursements
    Plan Payments                                     $2,001.95             $2,001.95                         $0.00
    Payments to Secured Creditors (not
    included in Plan Payments)                                                    $0.00                       $0.00
    Taxes (not included in Plan Payments)                                         $0.00                       $0.00
    Professional Fees                                                             $0.00                       $0.00
    Quarterly Fees                                                                $0.00                       $0.00
    Other Disbursements of Note:                                                                              $0.00
    -    Wilmington Mortgage Payment                 $26,601.77           $26,601.77
    -    Home Mortgage                                $4,553.72            $4,553.72
    -
    -
    -
    -
     All Remaining Disbursements                     $18,928.37           $18,182.48                       $745.89
Total Cash Disbursements                             $52,085.81           $51,339.92                       $745.89


      Note: All disbursements must be listed.
         Case 20-30208         Doc 181       Filed 03/14/23 Entered 03/14/23 09:15:19                    Desc Main
                                             Document      Page 4 of 36


                                               BANK ACCOUNTS
        Note: All bank statements must be attached for each account, including copies of canceled checks. Please
        reproduce this page and complete for each account and attach the bank statement to the corresponding page.


         Name of Bank:                                                                 Truist (Formerly SunTrust)

         Type of Account:                                                              Checking
                                                                                       (i.e., operating, payroll, tax, etc.)

         Account Number:                                                               -0499
                                                                                       (last 4 digits of account number)

         Ending Balance (per the attached statement)                                                                $134,946.89

         Outstanding Deposits and Other Credits (list below):                                                                   $0.00

         Outstanding Checks and Other Debits (list below):                                                                     $55.00

         Ending Reconciled Balance*                                                                                 $144,766.75

         Highest Daily Balance During Period                                                                        $149,381.26

        *The sum of the ending balances of all accounts must reconcile with the Ending Cash Position on the Cash
        Receipts and Disbursements page.

         Outstanding Deposits / Other Credits                             Outstanding Checks / Other Debits
Check                Payee:                Amount:               Check               Payee:               Amount:
 No.                                                              No.
                                                                1314              Sharone Mitchell                                $55.00
                                                                1413            Legolia McGlohon                               $2,018.36



                                    Total:                                  Total:                                             $2,073.36
               Case
              Page 1 of 820-30208
                             12/28/22        Doc 181            Filed 03/14/23 Entered 03/14/23 09:15:19                    Desc Main
              NC                                                Document      Page 5 of 36




                  500-49-01-00 55611   9 C 001 18    55 004
                  CALVIN R KENNEDY
                  CYNTHIA M KENNEDY
                  43 2 4 SATTERWYTHE LN
                  CHARLOTTE NC     2 8 2 1 5 - 8511




   Your account statement                                                                    Contact us
                                                                                                                                    (844) 4TRUIST or
   For 12/28/2022                                                                                      Truist.com
                                                                                                                                    (844) 487-8478



   If you are traveling outside of the USA and have concerns about accessing your account while you are traveling, please contact your
   Branch Banker or call us at 844-4TRUIST.



     TRUIST DIMENSION CHECKING
   Account summary                                                                 Interest summary
   Your previous balance as of 11/28/2022                        $144,821.75       Interest paid this statement period                           $1.12
   Checks                                                          - 45,243.87     2022 interest paid year-to-date                              $16.55
   Other withdrawals, debits and service charges                    - 6,096.05     Interest rate                                                0.01%
   Deposits, credits and interest                                 + 41,465.06      Annual percentage yield (APY) earned                         0.01%
   Your new balance as of 12/28/2022                          = $134,946.89

   Checks
   DATE        CHECK #                 AMOU NT( $)            DATE       CHECK #          AMOU NT($)         DAT E        CHECK #           AMOUNT ($ )
   12/21                                    500.00            12/05      1412               2,001.95         12/15     1417~
   11/29     * 1407~                                          12/06    * 1414                 720.00         12/15     1418                     137.64
   11/29       1408~                                          12/22      1415                 165.00         12/15     1419                     106.30
   12/07     * 1410                     26,601.77             12/15      1416~                               12/20   * 7011973               10,457.49
   12/13       1411                      4,553.72
   * indicates a skip in sequential check numbers above this item                                           Total checks                 = $45,243.87
   ~ indicates an electronically converted check. See "Other withdrawals, debits and service charges"

   Other withdrawals, debits and service charges
   DATE      DESCRIPTION                                                                                                                     AMOU NT($)
   11/29     DEBIT CARD PURCHASE BOJANGLES 752 0100 11-27 CHARLOTTE    NC 3417                                                                    9.06
   11/29     DEBIT CARD PURCHASE Prime Video*5E28G9 11-28 888-802-3080 WA 3417                                                                    5.44
   11/29     CONVERTED CHECK - ARC CHECK PYMT CHARTER COMMUNIC 14071407                                                                           9.30
   11/29     CONVERTED CHECK - ARC ARC      DUKE OR PIEDMONT 14081408                                                                           136.74
   11/29     VISA MONEY TRANSFER DEBIT 11-29-22 SAN JOSE CA 4798 VENMO*                                                                         261.90
   11/30     DEBIT CARD PURCHASE SP VOLUSPA 11-29 HTTPSVOLUSPAU CA 4798                                                                         133.85
   12/01     DEBIT CARD PURCHASE GAP ONLINE 11-29 800-4277895    OH 4798                                                                         75.08
   12/01     DEBIT CARD PURCHASE-PIN 11-30-22 CHARLOTTE NC 3417 MECKLENBURG ABC #18                                                              52.38
   12/02     DEBIT CARD PURCHASE CHICK-FIL-A #04095 11-30 HARRISBURG   NC 3417                                                                    6.51
   12/02     DEBIT CARD PURCHASE AMZN Mktp US*QA6N0 12-01 Amzn.com/bill WA 3417                                                                  98.11
   12/02     DEBIT CARD PURCHASE-PIN 12-01-22 CHARLOTTE NC 4798 FOOD LION #2627                                                                 224.27
   12/05     DEBIT CARD PURCHASE BOJANGLES 752 0100 12-01 CHARLOTTE    NC 3417                                                                   14.07
   12/05     DEBIT CARD PURCHASE COOK OUT NORTH TRY 12-01 CHARLOTTE      NC 3417                                                                  7.99
   12/05     DEBIT CARD PURCHASE COOK OUT NORTH TRY 12-02 CHARLOTTE      NC 3417                                                                 14.47
   12/05     DEBIT CARD PURCHASE AMZN Mktp US*U24N5 12-03 Amzn.com/bill WA 3417                                                                  53.18
   12/05     DEBIT CARD PURCHASE-PIN 12-03-22 CHARLOTTE NC 3417 WALGREENS STORE 3716-J W                                                         22.18
                                                                                                                                              continued


0032021
 TRUIST DIMENSION CHECKING (continued)
          Case 20-30208        Doc 181     Filed 03/14/23 Entered 03/14/23 09:15:19        Desc Main
                                           Document      Page 6 of 36                                  AMOU NT($)
12/05   DEBIT CARD PURCHASE-PIN 12-04-22 CONCORD       NC 4798 LIDL #1163                                 254.69
12/05   DEBIT CARD PURCHASE WALGREENS #4547 12-04 CHARLOTTE         NC 4798                                 4.47
12/06   DEBIT CARD PURCHASE BOJANGLES 752 0100 12-04 CHARLOTTE       NC 3417                                9.06
12/06   DEBIT CARD PURCHASE SP TWO BLIND BROTH 12-05 TWOBLINDBROTH NY 4798                                 98.00
12/06   DEBIT CARD PURCHASE AMZN MKTP US*SX578 12-05 AMZN.COM/BILL WA 3417                                 50.38
12/07   DEBIT CARD PURCHASE AMZN MKTP US*CY70J 12-06 AMZN.COM/BILL WA 3417                                 53.08
12/07   DEBIT CARD PURCHASE-PIN 12-06-22 CHARLOTTE NC 3417 HARRIS TEETER #0 9641 BRO                       42.69
12/07   DEBIT CARD PURCHASE-PIN 12-06-22 CHARLOTTE NC 3417 BP#6462642TIMES #44                             24.92
12/07   DEBIT CARD PURCHASE-PIN 12-06-22 CHARLOTTE NC 3417 HARRIS TEETER #0 9641 BRO                       19.24
12/08   DEBIT CARD PURCHASE SP MEGAFOOD 12-07 MEGAFOOD.COM DC 4798                                         49.32
12/09   DEBIT CARD PURCHASE Amazon.com*778XH49 12-08 Amzn.com/bill WA 3417                                  6.38
12/09   DEBIT CARD PURCHASE BELK.COM 12-08 866-235-5443 NC 4798                                            64.35
12/09   DEBIT CARD PURCHASE BISCUITVILLE 202 12-08 CONCORD        NC 3417                                  18.35
12/09   DEBIT CARD PURCHASE GOING GOING GONE 12-08 CONCORD            NC 3417                             448.49
12/09   DEBIT CARD PURCHASE TARGET      0002 12-08 CONCORD        NC 4798                                  62.79
12/09   DEBIT CARD PURCHASE MR CHARLES CHICKEN 12-08 CHARLOTTE         NC 3417                             75.72
12/12   DEBIT CARD PURCHASE AMZN Mktp US*QE9FC 12-11 Amzn.com/bill WA 3417                                 60.78
12/12   DEBIT CARD PURCHASE BEAN BOX 12-09 HTTPSBEANBOX. WA 4798                                           42.00
12/12   DEBIT CARD PURCHASE BLACKLION 12-09 CHARLOTTE       NC 3417                                        10.73
12/12   DEBIT CARD PURCHASE BOJANGLES 445 12-09 CHARLOTTE        NC 3417                                   17.30
12/12   DEBIT CARD PURCHASE AMZN Mktp US*3V5FO 12-10 Amzn.com/bill WA 3417                                 10.71
12/12   DEBIT CARD PURCHASE AMZN Mktp US*LY8S9 12-10 Amzn.com/bill WA 3417                                 19.29
12/12   DEBIT CARD PURCHASE Amazon.com*TG4QM1W 12-11 Amzn.com/bill WA 3417                                 85.44
12/13   DEBIT CARD PURCHASE AMZN Mktp US*Y335E 12-13 Amzn.com/bill WA 3417                                 35.55
12/13   DEBIT CARD PURCHASE AMZN Mktp US*3M12P 12-12 Amzn.com/bill WA 3417                                 37.54
12/14   DEBIT CARD PURCHASE CHICK-FIL-A #04095 12-12 HARRISBURG      NC 3417                               44.15
12/15   DEBIT CARD PURCHASE Amazon.com*HB81M30 12-14 Amzn.com/bill WA 3417                                 29.78
12/15   DEBIT CARD PURCHASE-PIN 12-14-22 CHARLOTTE NC 3417 FOOD LION #2627                                  5.28
12/15   DEBIT CARD PURCHASE Prime Video*HH8ME1 12-15 888-802-3080 WA 3417                                   7.62
12/15   CONVERTED CHECK - ARC ARC      DUKE OR PIEDMONT 1416 1416                                         411.34
12/15   CONVERTED CHECK - ARC ARC      DUKE OR PIEDMONT 1417 1417                                         212.00
12/16   DEBIT CARD PURCHASE AMZN Mktp US*ON8JE 12-15 Amzn.com/bill WA 3417                                 89.21
12/16   DEBIT CARD PURCHASE SP URBAN KANGAROO 12-15 HTTPSURBANKAN CA 4798                                  34.95
12/16   DEBIT CARD PURCHASE Amazon.com*AH8DQ0O 12-15 Amzn.com/bill WA 3417                                150.00
12/16   DEBIT CARD PURCHASE AMZN Mktp US*0T6S9 12-15 Amzn.com/bill WA 3417                                139.41
12/19   DEBIT CARD PURCHASE AMZN Mktp US*5S3CO 12-16 Amzn.com/bill WA 3417                                 53.61
12/19   DEBIT CARD PURCHASE AMZN Mktp US*5U43X 12-16 Amzn.com/bill WA 3417                                 32.16
12/19   DEBIT CARD PURCHASE AMZN Mktp US*KZ0ID 12-16 Amzn.com/bill WA 3417                                 23.60
12/19   DEBIT CARD PURCHASE-PIN 12-16-22 CONCORD       NC 3417 WM SUPERCENTER #4574                       304.64
12/19   DEBIT CARD PURCHASE-PIN 12-16-22 CONCORD       NC 3417 WAL WAL-MART SUPER 002085                   29.50
12/19   DEBIT CARD PURCHASE Prime Video *K91CF 12-16 888-802-3080 WA 3417                                   4.28
12/19   DEBIT CARD PURCHASE AMZN Mktp US*LS0DQ 12-18 Amzn.com/bill WA 3417                                 42.89
12/19   DEBIT CARD PURCHASE TARGET.COM * 12-18 800-591-3869 MN 4798                                        18.17
12/19   DEBIT CARD PURCHASE COOK OUT NORTH TRY 12-17 CHARLOTTE         NC 3417                             32.97
12/20   DEBIT CARD PURCHASE BOJANGLES 752 0100 12-18 CHARLOTTE       NC 3417                               10.13
12/20   DEBIT CARD PURCHASE CRAFTY CRAB RESTAU 12-18 CHARLOTTE        NC 3417                              35.71
12/20   DEBIT CARD PURCHASE-PIN 12-19-22 CHARLOTTE NC 4798 TJMAXX #0153                                   214.76
12/20   DEBIT CARD PURCHASE-PIN 12-20-22 CHARLOTTE NC 4798 HARRIS TEETER #0 9641 BRO                       69.01
12/21   DEBIT CARD PURCHASE AMZN Mktp US*LI6QW 12-20 Amzn.com/bill WA 3417                                 37.53
12/21   DEBIT CARD PURCHASE-PIN 12-20-22 CHARLOTTE NC 4798 WAL-MART #6233                                  14.20
12/21   DEBIT CARD PURCHASE STOCK MARKET 12-20 CONCORD          NC 3417                                    61.19
12/21   DEBIT CARD PURCHASE-PIN 12-20-22 CONCORD       NC 3417 OLLIES BARGAIN OUTLET 096                  200.72
12/22   DEBIT CARD PURCHASE COOK OUT NORTH TRY 12-20 CHARLOTTE          NC 3417                             7.99
12/22   DEBIT CARD PURCHASE-PIN 12-21-22 CHARLOTTE NC 3417 WALGREENS STORE 3716-J W                        11.79
12/22   DEBIT CARD PURCHASE-PIN 12-21-22 CHARLOTTE NC 3417 WALGREENS STORE 8538 N TR                        8.77
12/22   DEBIT CARD PURCHASE-PIN 12-21-22 CHARLOTTE NC 3417 MECKLENBURG ABC #18                             52.38
12/23   DEBIT CARD PURCHASE-PIN 12-22-22 CHARLOTTE NC 4798 BP#6462642TIMES #44                             41.37
12/23   DEBIT CARD PURCHASE BEAUTY 101 12-22 CHARLOTTE      NC 4798                                        36.01
12/27   DEBIT CARD PURCHASE CHICK-FIL-A #04095 12-22 HARRISBURG      NC 3417                               16.88
12/27   DEBIT CARD PURCHASE-PIN 12-23-22 CHARLOTTE NC 3417 WALGREENS STORE 8538 N TR                        7.73
12/27   DEBIT CARD PURCHASE WALGREENS #4547 12-23 CHARLOTTE         NC 3417                                 1.90
12/27   DEBIT CARD PURCHASE-PIN 12-23-22 CONCORD       NC 4798 WAL-MART #4574                              71.69
12/27   DEBIT CARD PURCHASE-PIN 12-23-22 CHARLOTTE NC 4798 HARRIS TEETER #0 9641 BRO                       23.82
12/27   DEBIT CARD PURCHASE Prime Video*1838A1 12-24 888-802-3080 WA 3417                                   4.35
                                                                                                       continued
                Case
               Page 3 of 820-30208
                              12/28/22    Doc 181        Filed 03/14/23 Entered 03/14/23 09:15:19                 Desc Main
               NC                                        Document      Page 7 of 36


       TRUIST DIMENSION CHECKING (continued)
   DATE      DESCRIPTION                                                                                                            AMOU NT($)
   12/27     DEBIT CARD RECURRING PYMT CVS CarePass 12-24 800-746-7287 RI 3417                                                           5.00
   12/27     DEBIT CARD RECURRING PYMT HLU*Hulu 150391180 12-26 HULU.COM/BILL CA 3417                                                   80.24
   12/27     DEBIT CARD PURCHASE-PIN 12-26-22 CHARLOTTE NC 3417 HARRIS TEETER #0 9641 BRO                                               12.23
   12/27     DEBIT CARD PURCHASE WPY*RunnerSpace PL 12-27 844-577-8663 OR 3417                                                          12.99
   12/27     DEBIT CARD PURCHASE-PIN 12-26-22 CHARLOTTE NC 4798 WAL SAM'S CLUB 000847                                                  432.15
   12/28     DEBIT CARD PURCHASE BOJANGLES 752 0100 12-26 CHARLOTTE     NC 3417                                                         10.67
   12/28     DEBIT CARD PURCHASE CHICK-FIL-A #04095 12-26 HARRISBURG    NC 3417                                                          8.44
   12/28     DEBIT CARD PURCHASE-PIN 12-27-22 CHARLOTTE NC 4798 HOBBYLOBBY 8150 IKEA BLVD                                              145.83
   12/28     DEBIT CARD PURCHASE-PIN 12-27-22 CHARLOTTE NC 4798 TJMAXX #0153                                                            33.76
   12/28     DEBIT CARD PURCHASE TJMAXX #0153 12-27 CHARLOTTE      NC 4798                                                               8.57
   12/28     DEBIT CARD PURCHASE-PIN 12-27-22 CHARLOTTE NC 4798 BURLINGTON STORES 985                                                   26.88
   Total other withdrawals, debits and service charges                                                                           = $6,096.05

   Deposits, credits and interest
   DATE      DESCRIPTION                                                                                                            AMOU NT($)
   12/01     PENSIONPMT TRUIST BANK XXXX KENNEDY, CALVIN                                                                             1,101.46
   12/01     XXVA BENEF VACP TREAS 310 3600 CALVIN KENNEDY                                                                           1,168.77
   12/05     DEBIT CARD RETURN AMZN Mktp US 12-03 Amzn.com/bill        WA 3417                                                          10.71
   12/12     DEPOSIT                                                                                                                34,255.00
   12/14     XXSOC SEC SSA TREAS 310 ASSA CALVIN R KENNEDY                                                                           3,054.00
   12/21     DEPOSIT                                                                                                                   500.00
   12/21     XXSOC SEC SSA TREAS 310 ASSA CYNTHIA M KENNEDY                                                                          1,374.00
   12/28     INTEREST PAYMENT                                                                                                            1.12
   Total deposits, credits and interest                                                                                         = $41,465.06
   x



   All Truist Consumer Deposit Accounts

   Changes are being made effective December 5, 2022 to the Bank Services Agreement (“BSA”) that governs your account, including
   changes to the Electronic Funds Transfer Agreement as shown below. Continued use of your account after the effective date constitutes
   your acceptance of the changes. The most current version of the BSA can be obtained at any Truist branch or online at www.truist.com.
   All future transactions on your account will be governed by the amended BSA. If you have any questions about this change, contact your
   local Truist branch, your relationship manager, or call 844-4TRUIST (844-487-8478).

   6A: PARTIAL AUTHORIZATION FOR CARD TRANSACTIONS: If a Card purchase amount exceeds the current Available balance in the
   primary linked checking or savings account when you are making a purchase, you may be able to use your Available balance to pay for a
   portion of the total purchase. The transaction will be subject to your card s daily spending limit. We will first try to approve the full
   amount of the purchase with the Available balance in your primary account, accounts linked for Overdraft Protection, and, $100
   Negative Balance Buffer for those eligible accounts. If we do not approve the full amount of the purchase, we may approve a portion of
   the purchase using the remaining available funds in your linked account. This is called “partial authorization.” The remaining amount of
   the purchase total would need to be covered by another form of payment, such as cash or another card. If you are unable/unwilling to
   provide an additional form of payment, the partial authorization will be reversed by the merchant. Not all merchants are able to accept
   partial authorizations or process transactions using multiple forms of payment.


   All Truist Consumer Deposit Accounts

   Changes are being made effective February 3, 2023 to the Bank Services Agreement (“BSA”) that governs your account, including
   revisions to the paragraph titled “Duty to Review Account Statement”. Continued use of your account after the effective date
   constitutes your acceptance of the changes. The most current version of the BSA can be obtained at any Truist branch or online at
   www.truist.com. All future transactions on your account will be governed by the amended BSA. If you have any questions about this
   change, contact your local Truist branch, your relationship manager, or call 844-4TRUIST (844-487-8478).


   Truist formerly SunTrust Consumer Deposit Accounts Only

   Truist provides a summary on Consumer checking and savings account statements containing Overdraft Related Fees* charged for the
   current statement cycle as well as a Year To Date (YTD) accumulation. Due to the Truist system conversion, for accounts that were
0032022
x
              Case 20-30208             Doc 181         Filed 03/14/23 Entered 03/14/23 09:15:19 Desc Main
                                                        Document your   Truist8statement
                                                                      Page      of 36 does not include any Overdraft Related Fees*
this account may have been charged from January 1, 2022 through February 21, 2022. The total of the YTD Overdraft Related Fees can
be determined by adding the YTD Overdraft Related Fees from your SunTrust statement dated February 21, 2022 and your Truist
statement dated December 2022.

If you would like information about fees incurred prior to February 22, 2022 you can view previous statements, visit a local branch or call
1-844-4TRUIST (844-487-8478).

*Overdraft Related Fees for accounts that were opened at SunTrust were: Overdraft Fee, Returned Item Fee and Extended Overdraft Fee
Overdraft Related Fees for Truist are: Overdraft Fee, Returned Item Fee and Negative Account Balance Fee. As of April 25, 2022, Truist no longer charges
the Returned Item Fee and Negative Account Balance Fee for Retail (Consumer) clients.


All Truist Consumer Deposit Accounts

Changes were made effective November 15, 2022 to the Personal Deposit Accounts Fee Schedule (PDFS) which applies to your account. The following
changes were made to correct and clarify the fees assessed for Duplicate Statements and Statement Reprints.

¡   A Duplicate Statement Fee of $3.00 per month applies when you request delivery of an additional current statement mailed each statement cycle.
¡   A Statement Reprint Fee of $5.00 per copy applies when you request an additional copy of a statement after receiving the original.

Continued use of your account after the effective date constitutes your acceptance of the changes. The most current version of the PDFS can be obtained
at any Truist branch or online at www.truist.com. All future transactions on your account will be governed by the amended PDFS. If you have any
questions about this change, contact your local Truist branch, your relationship manager, or call 844-4TRUIST (844-487-8478).
                   Case
                  Page 5 of 820-30208
                                 12/28/22          Doc 181           Filed 03/14/23 Entered 03/14/23 09:15:19                                      Desc Main
                  NC                                                 Document      Page 9 of 36




   Questions, comments or errors?
   For general questions/comments or to report errors about your statement or                 have stopped someone from making electronic transfers without your permission if
   account, please call us at 1-844-4TRUIST (1-844-487-8478) 24 hours a day, 7 days           you had told us, you could lose as much as $500. Also, if your periodic statement
   a week. Truist Contact Center teammates are available to assist you from 8 am              shows transfers you did not make, tell us at once. If you do not tell us within sixty (60)
   8pm EST Monday-Friday and 8am 5pm EST on Saturday. You may also contact                    days after the statement was mailed to you, you may not get back any money you lost
   your local Truist branch. To locate a Truist branch in your area, please visit             after sixty (60) days if we can prove we could have stopped someone from taking the
   Truist.com.                                                                                money if you had told us in time.

   Electronic fund transfers (For Consumer Accounts Only. Commercial Accounts                 Important information about your Truist Ready Now Credit Line Account
   refer to t he Commercial Bank Services Agreement.)                                         Once advances are made from your Truist Ready Now Credit Line Account, an
   Services such as Bill Payments and Zelle® are subject to the terms and conditions          INTEREST CHARGE will automatically be imposed on the account's outstanding
   governing those services, which may not provide an error resolution process in all         “Average daily balance.” The INTEREST CHARGE is calculated by applying the “Daily
   cases. Please refer to the terms and conditi ons for those services.                       periodic rate” to the ‘Average daily balance” of your account (including current
                                                                                              transactions) and multiplying this figure by the number of days in the billing cycle. To
   In case of errors or questi ons about your electronic fund transfers, if you think your    get the “Average daily balance,” we take the beginning account balance each day, add
   statement or receipt i s wrong or if you need more information about a transfer on         any new advances or debits, and subtract any payments or credits and the last unpaid
   the statement or receipt, IMMEDIATELY call 1-844-487-8478 or write to:                     INTEREST CHARGE. This gives us the daily balance. Then we add all of the daily
                               Fraud Management                                               balances for the billing cycle and divide the total by the number of days in the billing
                               P.O. Box 1014                                                  cycle. This gives us the ‘Average daily balance.”
                               Charlotte, NC 28201
   Tell us as soon as you can, if you think your statement or receipt is wrong, or i f you    Billing Rights Summary
   need more information about a transfer listed on the statement or receipt. We              In case of errors or questions about your Truist Ready Now Credit Line statement
   must hear from you no later than sixty (60) days after we sent the FIRST statement         If you think your statement is incorrect, or if you need more information about a Truist
   on w hich the problem or error appeared.                                                   Ready Now Credit Line transaction on your statement, please call 1-844-4TRUIST or
   • Tell us your name and deposit account number (if any)                                    visit your local Truist branch. To dispute a payment, please write to us on a separate
   • Describe the error or transfer you are unsure of, and explain as clearly as you can      sheet of paper at the following address:
        why you believe it is an error or w hy you need more information                                               Card and Direct to Consumer Lending
   • Tell us the dollar amount of the suspected error                                                                  PO Box 200
    If you tell us orally, we may require that you also send us your complaint or                                      Wilson NC 27894-0200
    question in writing within ten (10) business days. We will tell you the results of our    We must hear from you no later than sixty (60) days after we sent you the FIRST
    investigation within ten (10) business days after we hear from you, and we will           statement on which the error or problem appeared. You may telephone us, but doing
    correct any error promptl y. If we need more time, however, we may take up to             so will not preserve your rights. In your letter, please provide the following
    forty-fi ve (45) days to investigate your complaint or questions for ATM                  information:
    transactions made within the United States and up to ninety (90 ) days for new            • Your name and account number
    accounts, foreign i niti ated transactions and point-of-sale transactions. If we decide   • Describe the error or transfer you are unsure about, and explain in detail why you
    to do t his, we will re-credit your account within ten (10) business days for the             believe this is an error or why you need more information
    amount you think is in error, minus a maximum of $50. If we ask you to put your           • The dollar amount of the suspected error
    complaint in writing, and we do not receive it within ten (10) business days, we may      During our investigation process, you are not responsible for paying any amount in
    not re-credit your account and you will not have use of the money during the ti me        question; you are, however, obligated to pay the items on your statement that are not
    it takes us to complete our investigation.                                                in question. While we investigate your question, we cannot report you as delinquent
                                                                                              or take any action to collect the amount in question.
   Tell us AT ONCE if you believe your access device has been lost or stolen, or
   someone may have electronically transferred money from your account without                Mail-in deposits
   your permission, or someone has used informati on from a check to conduct an               If you wish to mail a deposit, please send a deposit ticket and check to your local Truist
   unauthorized electronic fund transfer. If you tell us within two (2) business days         branch. Visit Truist.com to locate the Truist branch closest to you. Please do not send
   after you l earn of the loss or theft of your access device or the unauthorized            cash.
   transaction, you can lose no more th an $50 if someone makes electronic transfers
   without your permission.                                                                   Change of address
                                                                                              If you need to change your address, please visit your local Truist branch or call Truist
   If you do NOT tell us within two (2) business days after you learn of the loss or theft    Contact Center at 1-844-4TRUIST (1-844-487-8478).
   of your access device or the unauthorized transaction, and we can prove we could

                                         How to Reconcile Your Account                                                  Outstanding Checks and Other Debits (Section A)

                                                                                                                 Date/Check #          Amount         Date/Check #          Amount
    1.     List the new balance of your account from your latest statement here:

    2. Record any outstanding debits (checks, check card purchases, ATM
        wit hdrawals, electronic transactions, etc.) in section A. Record the
        transaction date, the check number or type of debit and the debit amount.
        Add up all of the debits, and enter the sum here:
    3.    Subtract the amount in Line 2 above from the amount in Line 1 above and
          enter the t otal here:

    4. Record any outstanding credits in section B. Record the transaction date,
       credit type and the credit amount. Add up all of the credits and enter the
       sum here:                                                                                                       Outstanding Deposits and Other Credits (Section B)
    5.    Add the amount in Line 4 to the amount in Line 3 to find your balance. Enter                             Date/Type           Amount           Date/Type           Amount
          the sum here. This amount should match the balance in your register.
                 For more information, please contact your local Truist branch, visit Truist.com or contact us at 1-844-4TRUIST (1-844-487-8478). MEMBER FDIC

0032023
Case 20-30208   Doc 181   Filed 03/14/23 Entered 03/14/23 09:15:19   Desc Main
                          Document      Page 10 of 36
                Case
               Page 7 of 820-30208
                              12/28/22   Doc 181   Filed 03/14/23 Entered 03/14/23 09:15:19   Desc Main
               NC                                  Document      Page 11 of 36




          CHECK#:0                $500.00




          CHECK#:1410             $26,601.77




          CHECK#:1411             $4,553.72




          CHECK#:1412             $2,001.95




          CHECK#:1414             $720.00




0032024
      Case 20-30208   Doc 181   Filed 03/14/23 Entered 03/14/23 09:15:19   Desc Main
                                Document      Page 12 of 36




CHECK#:1415      $165.00




CHECK#:1418      $137.64




CHECK#:1419      $106.30

CHECK#:7011973   $10,457.49
       Case 20-30208         Doc 181       Filed 03/14/23 Entered 03/14/23 09:15:19                    Desc Main
                                           Document      Page 13 of 36

                                             BANK ACCOUNTS
      Note: All bank statements must be attached for each account, including copies of canceled checks. Please
      reproduce this page and complete for each account and attach the bank statement to the corresponding page.


       Name of Bank:                                                                 Wells Fargo

       Type of Account:                                                              Checking
                                                                                     (i.e., operating, payroll, tax, etc.)

       Account Number:                                                               -9735
                                                                                     (last 4 digits of account number)

       Ending Balance (per the attached statement)                                                                   $2,605.61

       Outstanding Deposits and Other Credits (list below):                                                                  $0.00

       Outstanding Checks and Other Debits (list below):                                                                     $0.00

       Ending Reconciled Balance: *                                                                                  $2,605.61

       Highest Daily Balance During Period                                                                           $3,351.48

      *The sum of the ending balances of all accounts must reconcile with the Ending Cash Position on the Cash
      Receipts and Disbursements page.

      Outstanding Deposits / Other Credits                           Outstanding Checks / Other Debits
Check             Payee:                Amount:                Check            Payee:               Amount:
 No.                                                            No.




                                  Total:                                  Total:
              Case 20-30208               Doc 181            Filed 03/14/23 Entered 03/14/23 09:15:19                                      Desc Main
                                ®                            Document      Page 14 of 36
Wells Fargo Preferred Checking
December 15, 2022             Page 1 of 5




                                                                                                            Questions?

CYNTHIA M KENNEDY                                                                                           Available by phone Mon-Sat 7:00am-11:00pm
                                                                                                            Eastern Time, Sun 9:00am-10:00pm Eastern Time:
4324 SATTERWYTHE LN
                                                                                                            We accept all relay calls, including 711
CHARLOTTE NC 28215-8511
                                                                                                             1-800-742-4932
                                                                                                             En español: 1-877-727-2932



                                                                                                            Online: wellsfargo.com

                                                                                                            Write: Wells Fargo Bank, N.A. (338)
                                                                                                                    P.O. Box 6995
                                                                                                                    Portland, OR 97228-6995




 You and Wells Fargo                                                                                        Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                               A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                             convenient services with your account(s). Go to
                                                                                                            wellsfargo.com or call the number above if you have
                                                                                                            questions or if you would like to add new services.

                                                                                                            Online Banking           ✓     Direct Deposit
                                                                                                            Online Bill Pay          ✓     Auto Transfer/Payment
                                                                                                            Online Statements        ✓     Overdraft Protection
                                                                                                            Mobile Banking           ✓     Debit Card

                                                                                                            My Spending Report       ✓     Overdraft Service




Statement period activity summary                                                                           Account number:

         Beginning balance on 11/17                                                $3,351.48                CYNTHIA M KENNEDY
         Deposits/Additions                                                               0.02              North Carolina account terms and conditions apply
         Withdrawals/Subtractions                                                    - 745.89
                                                                                                            For Direct Deposit use
         Ending balance on 12/15                                                   $2,605.61
                                                                                                            Routing Number (RTN): 053000219



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




      (338)
      Sheet Seq = 0033435
      Sheet 00001 of 00003
           Case 20-30208                  Doc 181          Filed 03/14/23 Entered 03/14/23 09:15:19                                    Desc Main
                                                           Document      Page 15 of 36
December 15, 2022                Page 2 of 5




Interest summary
       Interest paid this statement                                      $0.02
       Average collected balance                                     $3,080.05
       Annual percentage yield earned                                   0.01%
       Interest earned this statement period                             $0.02
       Interest paid this year                                           $0.29




Transaction history


                           Check                                                                                 Deposits/         Withdrawals/         Ending daily
       Date               Number Description                                                                     Additions         Subtractions             balance
       11/17                     Purchase authorized on 11/17 Williams-Sonoma 0843 6 Charlotte                                            67.46            3,284.02
                                 NC P000000784051261 Card 0693
       11/18                     Purchase authorized on 11/17 Bricktop's Charlot Charlotte NC                                              76.64            3,207.38
                                 S382321660474961 Card 0693
       11/21                     Purchase authorized on 11/19 Food Lion #2627 2935 W Charlotte                                             96.39            3,110.99
                                 NC P000000683077924 Card 0693
       12/13                     Purchase authorized on 12/13 Sam's Club Charlotte NC                                                     299.11
                                 P000000570174144 Card 0693
       12/13                     Purchase authorized on 12/13 Ross Store #2317 Charlotte NC                                                49.30            2,762.58
                                 P000000480891313 Card 0693
       12/14                     Purchase authorized on 12/13 Bargain Hunt Charlotte NC                                                   156.99            2,605.59
                                 S382347709334288 Card 0693
       12/15                     Interest Payment                                                                      0.02                                 2,605.61

       Ending balance on 12/15                                                                                                                             2,605.61

       Totals                                                                                                        $0.02              $745.89

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.




         IMPORTANT ACCOUNT INFORMATION

ATM Check Deposit Limit

Effective March 15, 2023, we are changing the following paragraph in the "Our right to decline deposits" subsection within the
"Depositing Funds" section of the Deposit Account Agreement:

We may decline all or part of a deposit, including cash, for any reason.                This could happen, for example, if a payee isn't a co-owner,
authorized signer, or authorized representative on your account, we can't verify an endorsement, the check was issued from a credit
account, the dollar amount of the deposit, the check looks suspicious, or it's a non-U.S. item. If we decline a deposit that you mailed to
us, we may return it to you at your cost (including charging you for postage and handling to return foreign currency coin or paper), or
retain any invalid checks or other documents included in the deposit without crediting your account, at our discretion.

The new paragraph is as follows:

We may decline all or part of a deposit, including cash, for any reason.              This could happen, for example, if a payee isn't a co-owner,
authorized signer, or authorized representative on your account, we can't verify an endorsement, the check was issued from a credit
            Case 20-30208                Doc 181           Filed 03/14/23 Entered 03/14/23 09:15:19                                     Desc Main
                                                           Document      Page 16 of 36
December 15, 2022             Page 3 of 5




account, the dollar amount of the deposit, the check looks suspicious, or it's a non-U.S. item. If we decline a deposit that you mailed to
us, we may return it to you at your cost (including charging you for postage and handling to return foreign currency coin or paper), or
retain any invalid checks or other documents included in the deposit without crediting your account, at our discretion. There are limits
on the total dollar amount of checks that can be deposited at Wells Fargo ATMs per transaction. We may decline check deposits that
exceed $1 million.



Effective January 31, 2023, in the section of your Deposit Account Agreement ("Agreement") titled "Available Balance, Posting
Transactions, and Overdraft", under the subsection "How we process and post transactions to your account", the section titled "Step 2:
we sort your transactions into categories" is deleted and replaced with the following:

Step 2: we sort your transactions into categories

- We credit deposits received before the cutoff time.

- We subtract withdrawals and payments we have previously authorized that we cannot return unpaid such as debit card purchases,
ATM withdrawals, account transfers, Bill Pay transactions, and teller-cashed checks. Transactions are generally sorted by date and time
the transaction was conducted or, for some transactions, the day we receive it for payment, or the time assigned by our system. If date
and time are the same, we post from lowest to highest dollar amount.

- We pay your checks and preauthorized ACH payments, such as electronic payments you have authorized a company to withdraw
using your account and routing number. Transactions are generally sorted by date and time received by the Bank, and if date and time
are the same, we post from lowest to highest dollar amount. Merchant-issued payment card transactions (e.g., an ACH payment
associated with a purchase you made using a store-issued debit card) post after all other transactions in this category.

Determining Date and Time

- Cutoff time is based on the location where the deposit or transfer was made.

- For debit card transactions, if we do not have date and time information, we use the day we receive it for payment from the
merchant.

- For some transactions, such as Bill Pay or teller-cashed checks, a different time may be assigned by our systems.



NEW YORK CITY CUSTOMERS ONLY -- Pursuant to New York City regulations, we request that you contact us at 1-800-TO WELLS
(1-800-869-3557) to share your language preference.



Tax Season Reminder: Wells Fargo delivers tax documents - either by mail or online depending on your delivery preference - no later
than January 31 or by the IRS deadline of February 15 for brokerage accounts. Depending on the U.S. Postal delivery service, you
should expect to receive your tax documents no later than the end of February. You can update your tax document delivery
                                          ®
preferences by visiting Wells Fargo Online .

The Internal Revenue Service (IRS) requires Wells Fargo to report information regarding the amount of interest, dividend or
miscellaneous income earned as well as gross proceeds from sales by providing you with various IRS Forms 1099 based on the different
types of transactions that occurred in your account during the calendar tax year (the IRS reportable threshold). For example, if you
have interest or dividends in the amount of $10 or more during that timeframe, you will receive a Form 1099-INT from Wells Fargo.

For more information, visit Wells Fargo Tax Center at https://www.wellsfargo.com/tax-center/.



Can we reach you when it's really important?




      Sheet Seq = 0033436
      Sheet 00002 of 00003
           Case 20-30208               Doc 181          Filed 03/14/23 Entered 03/14/23 09:15:19                                    Desc Main
                                                        Document      Page 17 of 36
December 15, 2022            Page 4 of 5




Don't miss suspicious-activity alerts and critical account information. Please make sure your contact information is current by:
                                                            ®
- Signing on to wellsfargo.com or the Wells Fargo Mobile app and navigating to the Update Contact Information page via My Profile
- Contacting the phone number at the top of your statement
- Visiting a branch



Other Wells Fargo Benefits

Shopping online this Holiday Season? Avoid scams by watching for red flags like pressure to buy right away, rude or pushy language,
or unusually specific ways to pay such as gift cards, crypto or payment apps. Learn more at www.wellsfargo.com/security.



Other Wells Fargo Benefits

Help take control of your finances with a Wells Fargo personal loan.
Whether it's managing debt, making a large purchase, improving your home, or paying for unexpected expenses, a personal loan may
be able to help. See personalized rates and payments in minutes with no impact to your credit score.
Get started at wellsfargo.com/personalloan.
            Case 20-30208                  Doc 181             Filed 03/14/23 Entered 03/14/23 09:15:19                                   Desc Main
                                                               Document      Page 18 of 36
December 15, 2022               Page 5 of 5




Worksheet to balance your account                                         Important Information You Should Know
Follow the steps below to reconcile your statement balance with your         To dispute or report inaccuracies in information we have furnished to a
account register balance. Be sure that your register shows any interest      Consumer Reporting Agency about your accounts:
paid into your account and any service charges, automatic payments or        Wells Fargo Bank, N.A. may furnish information about deposit accounts to
ATM transactions withdrawn from your account during this statement           consumer reporting agencies. You have the right to dispute the accuracy of
period.                                                                      information that we have furnished to a consumer reporting agency by
 A Enter the ending balance on this statement.              $                writing to us at Overdraft Collection and Recovery, P.O. Box 5058, Portland,
                                                                             OR 97208-5058. Please describe the specific information that is inaccurate
 B List outstanding deposits and other                                       or in dispute and the basis for the dispute along with supporting
credits to your account that do not appear on                                documentation. If you believe the information furnished is the result of
this statement. Enter the total in the column                                identity theft, please provide us with an identity theft report.
to the right.                                                                If your account has a negative balance:
                                                                             Please note that an account overdraft that is not resolved 60 days from the
 Description                     Amount
                                                                             date the account first became overdrawn will result in closure and charge
                                                                             off of your account. In this event, it is important that you make
                                                                             arrangements to redirect recurring deposits and payments to another
                                                                             account. The closure will be reported to Early Warning Services. We reserve
                                                                             the right to close and/or charge-off your account at an earlier date, as
                                                                             permitted by law. The laws of some states require us to inform you that this
                                                                             communication is an attempt to collect a debt and that any information
                    Total   $                            + $                 obtained will be used for that purpose.
                                                                             In case of errors or questions about your electronic transfers:
C   Add A and B to calculate the subtotal.               = $                 Telephone us at the number printed on the front of this statement or write
                                                                             us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
 D List outstanding checks, withdrawals, and
                                                                             you can, if you think your statement or receipt is wrong or if you need more
other debits to your account that do not appear
                                                                             information about a transfer on the statement or receipt. We must hear
on this statement. Enter the total in the column                             from you no later than 60 days after we sent you the FIRST statement on
to the right.                                                                which the error or problem appeared.

 Number/Description              Amount                                      1. Tell us your name and account number (if any).
                                                                             2. Describe the error or the transfer you are unsure about, and explain as
                                                                                clearly as you can why you believe it is an error or why you need more
                                                                                information.
                                                                             3. Tell us the dollar amount of the suspected error.

                                                                             We will investigate your complaint and will correct any error promptly. If
                                                                             we take more than 10 business days to do this, we will credit your account
                                                                             for the amount you think is in error, so that you will have the use of the
                                                                             money during the time it takes us to complete our investigation.
                                                                             In case of errors or questions about other transactions (that are not
                                                                             electronic transfers):
                                                                             Promptly review your account statement within 30 days after we made it
                                                                             available to you, and notify us of any errors.




                    Total   $                            - $

 E Subtract D from C to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register.                                                = $                ©2021 Wells Fargo Bank, N.A. All rights reserved.Member FDIC. NMLSR ID 399801




      Sheet Seq = 0033437
 Case 20-30208        Doc 181      Filed 03/14/23 Entered 03/14/23 09:15:19               Desc Main
                                   Document      Page 19 of 36


                           PAYMENTS PURSUANT TO PLAN
   This form is not applicable to the Debtor.
Class Essendant Creditor(s) in this Class: Essendant
(a) Date payments commence to this Class:        February 1, 2022
(b) Status of payments:      No payments due         Collateral sold/surrendered
   Paid in full     Treatment pursuant to plan         No claims in class       Third-party obligation
   Other:
(c) Payments are        Monthly          Quarterly        Other (describe): $35,000 in February 2022,
$50,000 in February 2023, $50,000 in August 2023, $165,000 in February 2024
(d) Total amount required to be paid this Reporting Period: $0.00
(e) Total amount paid this Reporting Period:      $0.00
(f) Is the Debtor in compliance with the Plan with regard to this Class?           Yes      No
(g) If the Debtor has not made all required payments, please provide specific details regarding the
number of payments missed and when the Debtor intends to bring the payments current:


[Note: Please reproduce this section and complete for each class pursuant to the confirmed plan.]



Class Griffith and McGlohon Creditor(s) in this Class:Griffith and McGlohon
(a) Date payments commence to this Class: March 1, 2022
(b) Status of payments:      No payments due         Collateral sold/surrendered
   Paid in full     Treatment pursuant to plan         No claims in class       Third-party obligation
   Other:
(c) Payments are        Monthly          Quarterly        Other (describe):
(d) Total amount required to be paid this Reporting Period: $4,020.31
(e) Total amount paid this Reporting Period:      $4,020.31
(f) Is the Debtor in compliance with the Plan with regard to this Class?           Yes      No
(g) If the Debtor has not made all required payments, please provide specific details regarding the
number of payments missed and when the Debtor intends to bring the payments current:
 Case 20-30208        Doc 181      Filed 03/14/23 Entered 03/14/23 09:15:19               Desc Main
                                   Document      Page 20 of 36

                   PAYMENTS TO UNCLASSIFIED CLAIMANTS

   This form is not applicable to the Debtor.
Type of Claimant: Adminstrative
(a) Date payments commence to this Class:        TBD
(b) Status of payments:      No payments due         Collateral sold/surrendered
   Paid in full     Treatment pursuant to plan         No claims in class       Third-party obligation
   Other: TBD
(c) Payments are        Monthly          Quarterly        Other (describe): TBD
(d) Total amount required to be paid this Reporting Period: $0.00
(e) Total amount paid this Reporting Period:      $0.00
(f) Is the Debtor in compliance with the Plan with regard to this Class?           Yes      No
(g) If the Debtor has not made all required payments, please provide specific details regarding the
number of payments missed and when the Debtor intends to bring the payments current:


[Note: Please reproduce this section and complete for each class pursuant to the confirmed plan.]


Type of Claimant: General unsecured
(a) Date payments commence to this Class:        TBD
(b) Status of payments:      No payments due         Collateral sold/surrendered
   Paid in full     Treatment pursuant to plan         No claims in class       Third-party obligation
   Other:
(c) Payments are        Monthly          Quarterly        Other (describe): TBD
(d) Total amount required to be paid this Reporting Period: $0.00
(e) Total amount paid this Reporting Period:      $0.00
(f) Is the Debtor in compliance with the Plan with regard to this Class?           Yes      No
(g) If the Debtor has not made all required payments, please provide specific details regarding the
number of payments missed and when the Debtor intends to bring the payments current:
       Case 20-30208         Doc 181        Filed 03/14/23 Entered 03/14/23 09:15:19                  Desc Main
                                            Document      Page 21 of 36

                                       PROPERTY SALE REPORT
      (a) Does the plan propose the sale or transfer of property?            Yes           No
      (b) If Yes, please complete one or both of the following charts:
 Description of Property to be Sold:        Deadline for Sale of Property:             Proposed Closing Date:




Enter any content that you want to
repeat, including other content controls.
You can also insert this control around
table rows in order to repeat parts of a
table.

      (c) If the Debtor sold property during the reporting period, please complete the following chart:
                                             Date Property                                      Net Sale Proceeds Paid to
    Description of Property Sold:                Sold:              Gross Sale Proceeds:                 Debtor:
Iredell County Real Estate                  12/29/2022                        $18,000.34                       15,364.34




                                                    [end of report]
DigiSign Verified - 24eb4603-ddf8-4cb5-a2ad-a133f938fec2
           Case 312971d7-65c7-4d81-9a57-d5f129bd30f2
                    20-30208 Doc 181 Filed 03/14/23 Entered 03/14/23 09:15:19                                        Desc Main
                             OFFER TO PURCHASEDocumentAND CONTRACT
                                                              Page 22 -of VACANT
                                                                             36     LOT/LAND
                            [Consult “Guidelines” (Form 12G) for guidance in completing this form]

     NOTE: If seller is selling less than the entire parcel of land owned, then compliance with subdivision regulation and/or an adequate
     legal description of the land being sold must be considered. This contract should not be used to sell property by reference to,
     exhibition of, or any other use of a plat showing a subdivision of the property before the plat has been properly approved and
     recorded with the register of deeds as of the date of the contract. If a preliminary plat has been approved, this contract may be used
     if an addendum drafted by a North Carolina real estate attorney addressing certain statutory requirements is attached. See NC
     General Statutes Section 160D-807 for more details and possible exceptions. If Buyer is contemplating a subdivision of the land as
     a condition of purchase, Buyer should first consult with an NC real estate attorney.



     NOTE FOR NEW CONSTRUCTION: If Seller is Buyer’s builder or has engaged a builder and the sale involves the construction
     of a new single-family dwelling prior to closing, use the standard Offer to Purchase and Contract—New Construction (Form 800-T)
     or, if the construction is completed, use the Offer to Purchase and Contract (Form 2-T) with the New Construction Addendum (Form
     2A3-T).

   For valuable consideration, the receipt and legal sufficiency of which are hereby acknowledged, Buyer offers to purchase and Seller
   upon acceptance agrees to sell and convey the Property on the terms and conditions of this Offer To Purchase and Contract and any
   addendum or modification made in accordance with its terms (together the “Contract”).

   1. TERMS AND DEFINITIONS: The terms listed below shall have the respective meaning given them as set forth adjacent to each
   term.
      (a) “Seller”: ______________________________________________________________________________________________
                     Calvin R Kennedy, Cynthia Kennedy

       (b) “Buyer”: ______________________________________________________________________________________________
                     Ceila Caballero

       (c) “Property”: The Property shall include all that real estate described below together with all appurtenances thereto including the
       improvements located thereon.

       The Property  will  will not include a manufactured (mobile) home(s). (If a manufactured home(s) is included, Buyer and Seller
       should include the Manufactured (Mobile) Home provision in the Additional Provisions Addendum (Standard Form 2A11-T) with
       this offer.)

       Street Address: ____________________________________________________________________________________________
                        174 Jasmine Cir #36
       City: ____________________________________________________________________________Zip:_____________________
              Troutman                                                                         28166
       County: ________________________________________________,
                Iredell                                           North Carolina

        NOTE: Governmental authority over taxes, zoning, school districts, utilities and mail delivery may differ from address shown.

       Legal Description: (Complete ALL applicable)
       Plat Reference: Lot/Unit______, Block/Section _______, Subdivision/Condominium _____________________________________
                                                                                         King Acres
       _________________________________________, as shown on Plat Book/Slide _______________ at Page(s) ________________
       The PIN/PID or other identification number of the Property is: _______________________________________________________
                                                                       4649-29-1003.000
       Other description: __________________________________________________________________________________________
                            L36 KING AC S-2 PB 12-58
       Some or all of the Property may be described in Deed Book ___________________________
                                                                    644                         at Page _______________________
                                                                                                         267

       (d) “Purchase Price”:
           $ ____________________________
              18,000.00                               paid in U.S. Dollars upon the following terms:
           $ _______________________
              500.00                                  BY DUE DILIGENCE FEE made payable and delivered to Seller by the Effective
                                                      Date by  cash   4 personal check  4 official bank check   4 wire transfer

                                                       electronic transfer (specify payment service: ____________________________)
           $ ____________________________
              500.00                                  BY INITIAL EARNEST MONEY DEPOSIT made payable and delivered to Escrow
                                                      Agent named in Paragraph 1(f) by  cash      4 personal check   4 official bank check

                                                       wire transfer,  electronic transfer within five (5) days of the Effective Date of this
                                                       4

                                                      Contract.



                                                               Page 1 of 13
                           This form jointly approved by:                                                      STANDARD FORM 12-T
                           North Carolina Bar Association’s Real Property Section                                     Revised 7/2022
                           North Carolina Association of REALTORS, Inc.                                                    © 7/2022

                           Buyer initials CC
                                                                          CK CK
                                          _______ _______ Seller initials _______ _______
Created by Carmen Brooks with SkySlope® Forms
DigiSign Verified - 24eb4603-ddf8-4cb5-a2ad-a133f938fec2
            Case 312971d7-65c7-4d81-9a57-d5f129bd30f2
                    20-30208 Doc 181 Filed 03/14/23 Entered 03/14/23 09:15:19 Desc Main
        $ ____________________________       BY (ADDITIONAL)
                                            Document           PageEARNEST
                                                                       23 of 36MONEY DEPOSIT made payable and delivered to
                                             Escrow Agent named in Paragraph 1(f) no later than 5 p.m. on _________________,
                                             TIME BEING OF THE ESSENCE by  cash  official bank check  wire transfer
                                              electronic transfer
        $ ____________________________       BY ASSUMPTION of the unpaid principal balance and all obligations of Seller on the
                                             existing loan(s) secured by a deed of trust on the Property in accordance with the
                                             attached Loan Assumption Addendum (Standard Form 2A6-T).
        $______________________________      BY SELLER FINANCING in accordance with the attached Seller Financing
                                             Addendum (Standard Form 2A5-T).
        $______________________________
           17,000.00                         BALANCE of the Purchase Price in cash at Settlement (some or all of which may be
                                             paid with the proceeds of a new loan)

      NOTE: If the parties agree that Buyer will pay any fee or deposit described above by electronic or wire transfer, Seller agrees to
      cooperate in effecting such transfer, including the establishment of any necessary account and providing any necessary
      information to Buyer, provided, however, Buyer shall be responsible for additional costs, if any, associated with such transfer.


     Should Buyer fail to deliver either the Due Diligence Fee or any Initial Earnest Money Deposit by their due dates, or should any
     check or other funds paid by Buyer be dishonored, for any reason, by the institution upon which the payment is drawn, Buyer shall
     have one (1) banking day after written notice to deliver cash, official bank check, wire transfer or electronic transfer to the payee. In
     the event Buyer does not timely deliver the required funds, Seller shall have the right to terminate this Contract upon written notice
     to Buyer, and Seller shall be entitled to recover the Due Diligence Fee together with all Earnest Money Deposit paid or to be paid in
     the future. In addition, Seller may be entitled to recover reasonable attorney fees and court costs. See paragraph 20 for a party’s right
     to attorneys’ fees incurred in collecting the Earnest Money Deposit or Due Diligence Fee.

     (e) “Earnest Money Deposit”: The Initial Earnest Money Deposit, the Additional Earnest Money Deposit and any other earnest
     monies paid or required to be paid in connection with this transaction, collectively the “Earnest Money Deposit”, shall be deposited
     promptly and held in escrow by Escrow Agent until Closing, at which time it will be credited to Buyer, or until this Contract is
     otherwise terminated. In the event: (1) this offer is not accepted; or (2) a condition of any resulting contract is not satisfied, then the
     Earnest Money Deposit shall be refunded to Buyer. See paragraph 21 for a party’s right to the Earnest Money Deposit, and attorneys’
     fees incurred in collecting the Earnest Money Deposit, in the event of breach of this Contract by the other party.

     (f) “Escrow Agent” (insert name): ____________________________________________________________________________
                                              Alan Carpenter
     Buyer and Seller consent to disclosure by the Escrow Agent of any material facts pertaining to the Earnest Money Deposit to the
     parties to this transaction, their real estate agent(s) and Buyer’s lender(s).

    NOTE: In the event of a dispute between Seller and Buyer over the disposition of the Earnest Money Deposit held in escrow, a
    licensed real estate broker (“Broker”) is required by state law (and Escrow Agent, if not a Broker, hereby agrees) to retain the Earnest
    Money Deposit in the Escrow Agent’s trust or escrow account until Escrow Agent has obtained a written release from the parties
    consenting to its disposition or until disbursement is ordered by a court of competent jurisdiction. Alternatively, if a Broker or an
    attorney licensed to practice law in North Carolina ("Attorney") is holding the Earnest Money Deposit, the Broker or Attorney may
    deposit the disputed monies with the appropriate clerk of court in accordance with the provisions of N.C.G.S. §93A-12.
     THE PARTIES AGREE THAT A REAL ESTATE BROKERAGE FIRM ACTING AS ESCROW AGENT MAY PLACE THE
     EARNEST MONEY DEPOSIT IN AN INTEREST BEARING TRUST ACCOUNT AND THAT ANY INTEREST EARNED
     THEREON SHALL BE DISBURSED TO THE ESCROW AGENT MONTHLY IN CONSIDERATION OF THE EXPENSES
     INCURRED BY MAINTAINING SUCH ACCOUNT AND RECORDS ASSOCIATED THEREWITH.

     (g) “Effective Date”: The date that: (1) the last one of Buyer and Seller has signed or initialed this offer or the final counteroffer, if
     any, and (2) such signing or initialing is communicated to the party making the offer or counteroffer, as the case may be. The parties
     acknowledge and agree that the initials lines at the bottom of each page of this Contract are merely evidence of their having reviewed
     the terms of each page, and that the complete execution of such initials lines shall not be a condition of the effectiveness of this
     Agreement.

     (h) “Due Diligence”: Buyer’s opportunity to investigate the Property and the transaction contemplated by this Contract, including
     but not necessarily limited to the matters described in Paragraph 2 below, to decide whether Buyer, in Buyer’s sole discretion, will
     proceed with or terminate the transaction.

     (i) “Due Diligence Fee”: A negotiated amount, if any, paid by Buyer to Seller with this Contract for Buyer’s right to terminate the
     Contract for any reason or no reason during the Due Diligence Period. It shall be the property of Seller upon the Effective Date and
     shall be a credit to Buyer at Closing. The Due Diligence Fee shall be non-refundable except in the event of a material breach of this
                                                                  Page 2 of 13

                                                                              CK
                                                                       CK _______
                                                                                                                 STANDARD FORM 12-T
                       Buyer initials CC
                                      _______ _______ Seller initials _______                                           Revised 7/2022
                                                                                                                              © 7/2022
DigiSign Verified - 24eb4603-ddf8-4cb5-a2ad-a133f938fec2
             Case 312971d7-65c7-4d81-9a57-d5f129bd30f2
                      20-30208 Doc 181 Filed 03/14/23 Entered 03/14/23 09:15:19 Desc Main
     Contract by Seller, or if this Contract is terminated  under Paragraph
                                                     Document           Page21(b)
                                                                                24orofas 36
                                                                                         otherwise provided in any addendum hereto. Buyer
     and Seller each expressly waive any right that they may have to deny the right to conduct Due Diligence or to assert any defense as
     to the enforceability of this Contract based on the absence or alleged insufficiency of any Due Diligence Fee, it being the intent of
     the parties to create a legally binding contract for the purchase and sale of the Property without regard to the existence or amount of
     any Due Diligence Fee. See paragraph 21 for a party’s right to attorneys’ fees incurred in collecting the Due Diligence Fee.

      (j) “Due Diligence Period”: The period beginning on the Effective Date and extending through 5:00 p.m. on ________________
      _________________________________________________________TIME
        12/15/2022                                                                    BEING OF THE ESSENCE.
      (k) “Settlement”: The proper execution and delivery to the closing attorney of all documents necessary to complete the transaction
      contemplated by this Contract, including the deed, settlement statement, deed of trust and other loan or conveyance documents, and
      the closing attorney’s receipt of all funds necessary to complete such transaction

      (l) “Settlement Date”: The parties agree that Settlement will take place on __________________________________________
                                                                                   12/29/2022
      _______________________(the “Settlement Date”), unless otherwise agreed in writing, at a time and place designated by Buyer.

       NOTE: See paragraph 10, DELAY IN SETTLEMENT/CLOSING for conditions under which Settlement may be delayed.

      (m) “Closing”: The completion of the legal process which results in the transfer of title to the Property from Seller to Buyer, which
      includes the following steps: (1) the Settlement (defined above); (2) the completion of a satisfactory title update to the Property
      following the Settlement; (3) the closing attorney’s receipt of authorization to disburse all necessary funds; and (4) recordation in
      the appropriate county registry of the deed(s) and deed(s) of trust, if any, which shall take place as soon as reasonably possible for
      the closing attorney after Settlement. Upon Closing, the proceeds of sale shall be disbursed by the closing attorney in accordance
      with the settlement statement and the provisions of Chapter 45A of the North Carolina General Statutes. If the title update should
      reveal unexpected liens, encumbrances or other title defects, or if the closing attorney is not authorized to disburse all necessary
      funds, then the Closing shall be suspended and the Settlement deemed delayed under Paragraph 10 (Delay in Settlement/Closing).

      WARNING: The North Carolina State Bar has determined that the performance of most acts and services required for a closing
      constitutes the practice of law and must be performed only by an attorney licensed to practice law in North Carolina. State law
      prohibits unlicensed individuals or firms from rendering legal services or advice. Although non-attorney settlement agents may
      perform limited services in connection with a closing, they may not perform all the acts and services required to complete a
      closing. A closing involves significant legal issues that should be handled by an attorney. Accordingly it is the position of the
      North Carolina Bar Association and the North Carolina Association of REALTORS® that all buyers should hire an attorney
      licensed in North Carolina to perform a closing.

      (n) “Special Assessments”: A charge against the Property by a governmental authority in addition to ad valorem taxes and recurring
      governmental service fees levied with such taxes, or by an owners’ association in addition to any regular assessment (dues), either
      of which may be a lien against the Property.

    NOTE: Buyer’s and Seller’s respective responsibilities for the payment of Special Assessments are addressed in paragraphs 4(a)
    and 6(k).

      2.   BUYER’S DUE DILIGENCE PROCESS:

    WARNING: BUYER IS STRONGLY ENCOURAGED TO CONDUCT DUE DILIGENCE DURING THE DUE DILIGENCE
    PERIOD. If Buyer is not satisfied with the results or progress of Buyer’s Due Diligence, Buyer should terminate this Contract,
    prior to the expiration of the Due Diligence Period, unless Buyer can obtain a written extension from Seller. SELLER IS NOT
    OBLIGATED TO GRANT AN EXTENSION. Although Buyer may continue to investigate the Property following the expiration
    of the Due Diligence Period, Buyer’s failure to deliver a Termination Notice to Seller prior to the expiration of the Due Diligence
    Period will constitute a waiver by Buyer of any right to terminate this Contract based on any matter relating to Buyer’s Due
    Diligence. Provided however, following the Due Diligence Period, Buyer may still exercise a right to terminate if Seller fails to
    materially comply with any of Seller’s obligations under paragraph 6 of this Contract or for any other reason permitted under the
    terms of this Contract or North Carolina law.

      (a) Loan: Buyer, at Buyer’s expense, shall be entitled to pursue qualification for and approval of the Loan if any.

    NOTE: There is no loan or appraisal contingency in this Offer To Purchase and Contract. Therefore, Buyer is advised to consult
    with Buyer’s lender prior to signing this offer to assure that the Due Diligence Period allows sufficient time for the loan process
    and for Buyer’s lender to provide Buyer sufficient information to decide whether to proceed with or terminate the transaction.


                                                                Page 3 of 13

                                                                        CK CK
                                                                                                              STANDARD FORM 12-T
                       Buyer initials CC
                                      _______ _______ Seller initials _______ _______                                Revised 7/2022
                                                                                                                           © 7/2022
DigiSign Verified - 24eb4603-ddf8-4cb5-a2ad-a133f938fec2
                    312971d7-65c7-4d81-9a57-d5f129bd30f2
               Case 20-30208        Doc 181        Filed 03/14/23 Entered 03/14/23 09:15:19                        Desc Main
                                                   Document      Page 25 of 36
     (b) Property Investigation: Buyer or Buyer’s agents or representatives, at Buyer’s expense, shall be entitled to conduct all desired
     tests, surveys, appraisals, investigations, examinations and inspections of the Property as Buyer deems appropriate, including but
     NOT limited to the following:

         (i)    Soil And Environmental: Reports to determine whether the soil is suitable for Buyer’s intended use and whether there is
                any environmental contamination, law, rule or regulation that may prohibit, restrict or limit Buyer’s intended use.
         (ii) Septic/Sewer System: Any applicable investigation(s) to determine: (1) the condition of an existing sewage system, (2)
                the costs and expenses to install a sewage system approved by an existing Improvement Permit, (3) the availability and
                expense to connect to a public or community sewer system, and/or (4) whether an Improvement Permit or written
                evaluation may be obtained from the County Health Department for a suitable ground absorption sewage system.
         (iii) Water: Any applicable investigation(s) to determine: (1) the condition of an existing private drinking water well, (2) the
                costs and expenses to install a private drinking water well approved by an existing Construction Permit, (3) the availability,
                costs and expenses to connect to a public or community water system, or a shared private well, and/or (4) whether a
                Construction Permit may be obtained from the County Health Department for a private drinking water well.
         (iv) Review of Documents: Review of the Declaration of Restrictive Covenants, Bylaws, Articles of Incorporation, Rules and
                Regulations, and other governing documents of any applicable owners’ association and/or subdivision. If the Property is
                subject to regulation by an owners’ association, it is recommended that Buyer review the completed Owners' Association
                And Addendum (Standard Form 2A12-T) provided by Seller prior to signing this offer. It is also recommended that the
                Buyer determine if the owners’ association or its management company charges fees for providing information required
                by Buyer’s lender or confirming restrictive covenant compliance.
         (v) Appraisals: An appraisal of the Property
         (vi) Survey: A survey to determine whether the property is suitable for Buyer’s intended use and the location of easements,
                setbacks, property boundaries and other issues which may or may not constitute title defects.
         (vii) Zoning and Governmental Regulation: Investigation of current or proposed zoning or other governmental regulation
                that may affect Buyer’s intended use of the Property, adjacent land uses, planned or proposed road construction, and school
                attendance zones.
         (viii) Flood Hazard: Investigation of potential flood hazards on the Property, and/or any requirement to purchase flood
                insurance in order to obtain the Loan.
         (ix) Utilities and Access: Availability, quality, and obligations for maintenance of utilities including electric, gas,
                communication services, storm water management, and means of access to the Property and amenities.
         (x) Streets/Roads: Investigation of the status of the street/road upon which the Property fronts as well as any other street/road
                used to access the Property, including: (1) whether any street(s)/road(s) are public or private, (2) whether any
                street(s)/road(s) designated as public are accepted for maintenance by the State of NC or any municipality, or (3) if private
                or not accepted for public maintenance, the consequences and responsibility for maintenance and the existence, terms and
                funding of any maintenance agreements.

         NOTE: NC General Statutes Section 136-102.6(f) (the "Statute") requires that under circumstances described in the Statute,
         a buyer must be provided a subdivision streets disclosure statement prior to entering into an agreement to buy subdivided
         property described in the Statute. If Buyer or Seller are uncertain whether the sale of the Property described in this Contract
         is subject to the Statute, consult a NC real estate attorney.

         (xi) Special Assessments: Investigation of the existence of Special Assessments that may be under consideration by a
              governmental authority or an owners’ association.

     (c) Sale/Lease of Existing Property: As noted in paragraph 3(b), this Contract is not conditioned upon the sale/lease or closing of
     other property owned by Buyer. Therefore, if Buyer must sell or lease other real property in order to qualify for a new loan or to
     otherwise complete the purchase of the Property, Buyer should seek to close on Buyer’s other property prior to the end of the Due
     Diligence Period or be reasonably satisfied that closing on Buyer's other property will take place prior to the Settlement Date of this
     Contract.

     (d) Buyer’s Obligation to Repair Damage: Buyer shall, at Buyer’s expense, promptly repair any damage to the Property resulting
     from any activities of Buyer and Buyer’s agents and contractors, but Buyer shall not be responsible for any damage caused by
     accepted practices applicable to any N.C. licensed professional performing reasonable appraisals, tests, surveys, examinations and
     inspections of the Property. This repair obligation shall survive any termination of this Contract.

     (e) Indemnity: Buyer will indemnify and hold Seller harmless from all loss, damage, claims, suits or costs, which shall arise out of
     any contract, agreement, or injury to any person or property as a result of any activities of Buyer and Buyer’s agents and contractors
     relating to the Property except for any loss, damage, claim, suit or cost arising out of pre-existing conditions of the Property and/or
     out of Seller’s negligence or willful acts or omissions. This indemnity shall survive this Contract and any termination hereof.

                                                                Page 4 of 13
                                                                                                               STANDARD FORM 12-T
                      Buyer initials CC
                                     _______ _______ Seller initials _______ CK
                                                                       CK _______                                     Revised 7/2022
                                                                                                                            © 7/2022
DigiSign Verified - 24eb4603-ddf8-4cb5-a2ad-a133f938fec2
                    312971d7-65c7-4d81-9a57-d5f129bd30f2
            Case 20-30208            Doc 181        Filed 03/14/23 Entered 03/14/23 09:15:19                        Desc Main
                                                    Document      Page 26 of 36
     (f) Buyer’s Right to Terminate: Provided that Buyer has delivered any agreed-upon Due Diligence Fee, Buyer shall have the right
     to terminate this Contract for any reason or no reason, by delivering to Seller written notice of termination (the “Termination Notice”)
     during the Due Diligence Period (or any agreed-upon written extension of the Due Diligence Period), TIME BEING OF THE
     ESSENCE. If Buyer timely delivers the Termination Notice, this Contract shall be terminated and the Earnest Money Deposit shall
     be refunded to Buyer.

     (g) CLOSING SHALL CONSTITUTE ACCEPTANCE OF THE PROPERTY IN ITS THEN EXISTING CONDITION
     UNLESS PROVISION IS OTHERWISE MADE IN WRITING.

  3. BUYER REPRESENTATIONS:
     (a) Funds to complete purchase:
        4 (Check if applicable) Cash. Buyer intends to pay cash in order to purchase the Property and does not intend to obtain a loan or

        funds from sources other than Buyer’s own assets. Verification of cash available for Settlement is  is not 
                                                                                                                    4 attached.


       NOTE: If Buyer does not intend to obtain a new loan(s) and/or funds from sources other than Buyer’s own assets, Seller is advised,
       prior to signing this offer, to obtain documentation from Buyer which demonstrates that Buyer will be able to close on the Property
       without the necessity of obtaining a loan or funds from sources other than Buyer’s own assets.
      OR:
        (Check if applicable) Loan(s)/Other Funds: Buyer intends to obtain a loan(s) and/or other funds to purchase the Property from
       the following sources (check all applicable sources):
            First Mortgage Loan:
           Buyer intends to obtain a first mortgage loan of the following type in order to purchase the Property:  Conventional  USDA
            Other type: ________________________________________________________________________________________
           ____________________________________________________________________________________________________
           in the principal amount of _______________________________________________________________________________.
            Second Mortgage Loan:
           Buyer intends to obtain a second mortgage loan of the following type in order to purchase the Property:
           ____________________________________________________________________________________________________
            Other funds:
           Buyer intends to obtain funds from the following other source(s) in order to purchase the Property: ____________________
           ____________________________________________________________________________________________________
           ____________________________________________________________________________________________________

        NOTE: Buyer’s obligations under this Contract are not conditioned upon obtaining any loan(s) or other funds from sources other
        than Buyer’s own assets. Some mortgage loan programs and other programs providing funds for the purchase of property selected
        by Buyer may impose repair obligations and/or additional conditions or costs upon Seller or Buyer, and more information may be
        needed.
        Material changes with respect to funding the purchase of the Property that affect the terms of the contract are material facts that
        must be disclosed.

     (b) Other Property: Buyer  DOES     4 DOES NOT have to sell or lease other real property in order to qualify for a new loan or to

     complete the purchase. (Complete the following only if Buyer DOES have to sell or lease other real property:)
     Other Property Address: ____________________________________________________________________________________
      (Check if applicable) Buyer's other property IS under contract as of the date of this offer, and a copy of the contract has either
     been previously provided to Seller or accompanies this offer. (Buyer may mark out any confidential information, such as the purchase
     price and the buyer’s identity, prior to providing a copy of the contract to Seller.) Failure to provide a copy of the contract shall not
     prevent this offer from becoming a binding contract; however, SELLER IS STRONGLY ENCOURAGED TO OBTAIN AND
     REVIEW THE CONTRACT ON BUYER'S PROPERTY PRIOR TO ACCEPTING THIS OFFER.

      (Check if applicable) Buyer’s other property IS NOT under contract as of the date of this offer. Buyer’s property (check only
     ONE of the following options):
          is listed with and actively marketed by a licensed real estate broker.
          will be listed with and actively marketed by a licensed real estate broker.
          Buyer is attempting to sell/lease the Buyer’s Property without the assistance of a licensed real estate broker.

     NOTE: This Contract is NOT conditioned upon the sale/lease or closing of Buyer’s other property. If the parties agree to make
     this Contract conditioned on a sale/lease or closing of Buyer's other property, an appropriate contingency addendum should be
     drafted by a North Carolina real estate attorney and added to this Contract.


                                                                 Page 5 of 13

                                                                             CK
                                                                                                               STANDARD FORM 12-T
                      Buyer initials CC                               CK _______
                                     _______ _______ Seller initials _______                                          Revised 7/2022
                                                                                                                            © 7/2022
DigiSign Verified - 24eb4603-ddf8-4cb5-a2ad-a133f938fec2
            Case 312971d7-65c7-4d81-9a57-d5f129bd30f2
                    20-30208 Doc 181 Filed 03/14/23 Entered 03/14/23 09:15:19 Desc Main
      (c) Performance of Buyer’s Financial Obligations:Document   To the Page
                                                                          best of27
                                                                                  Buyer’s
                                                                                    of 36knowledge, there are no other circumstances or
     conditions existing as of the date of this offer that would prohibit Buyer from performing Buyer’s financial obligations in accordance
     with this Contract, except as may be specifically set forth herein.

  4. BUYER OBLIGATIONS:
     (a) Responsibility for Special Assessments: Buyer shall take title subject to all Special Assessments that may be approved following
     Settlement.

      (b) Responsibility for Certain Costs: Buyer shall be responsible for all costs with respect to:
           (i) any loan obtained by Buyer;
           (ii) charges by an owners’ association or a management company/vendor as agent of the association under paragraph 7(b) of
           this Contract;
           (iii) appraisal;
           (iv) title search;
           (v) title insurance;
           (vi) any fees charged by the closing attorney for the preparation of the Closing Disclosure, Seller Disclosure and any other
           settlement statement;
           (vii) recording the deed; and
           (viii) preparation and recording of all instruments required to secure the balance of the Purchase Price unpaid at Settlement.

      (c) Authorization to Disclose Information: Buyer authorizes the Buyer’s lender(s), the parties’ real estate agent(s) and closing
      attorney: (1) to provide this Contract to any appraiser employed by Buyer or by Buyer’s lender(s); and (2) to release and disclose
      any buyer’s closing disclosure, settlement statement and/or disbursement summary, or any information therein, to the parties to this
      transaction, their real estate agent(s) and Buyer’s lender(s).

  5. SELLER REPRESENTATIONS:
      (a) Ownership: Seller represents that Seller:
          
          4 has owned the Property for at least one year.

           has owned the Property for less than one year.
           does not yet own the Property.

      (b) Owners’ Association(s) and Dues: To best of Seller’s knowledge, ownership of the Property  subjects        4 does not subject

      Buyer to regulation by one or more owners’ association(s) and governing documents, which impose various mandatory covenants,
      conditions and restrictions upon the Property and Buyer’s enjoyment thereof, including but not limited to obligations to pay regular
      assessments (dues) and Special Assessments. If there is an owners’ association, then an Owners’ Association Disclosure and
      Addendum For Properties Exempt from Residential Property Disclosure Statement (Standard Form 2A12-T) shall be completed by
      Seller, at Seller’s expense, and must be attached as an addendum to this Contract.
      (c) Sewage System Permit: ( Applicable   4 Not Applicable) Seller warrants that the sewage system described in the Improvement

      Permit attached hereto has been installed, which representation survives Closing, but makes no further representations as to the
      system.

      (d) Private Drinking Water Well Permit: ( Applicable      4 Not Applicable) Seller warrants that a private drinking water well has

      been installed, which representation survives Closing, but makes no further representations as to the well. (If well installed after July
      1, 2008, attach Improvement Permit hereto.

  6. SELLER OBLIGATIONS:
      (a) Evidence of Title, Payoff Statement(s) and Non Foreign Status:
           (i) Seller agrees to use best efforts to provide to the closing attorney as soon as reasonably possible after the Effective Date,
           copies of all title information in possession of or available to Seller, including but not limited to: title insurance policies,
           attorney’s opinions on title, surveys, covenants, deeds, notes and deeds of trust, leases, and easements relating to the
           Property.
           (ii) Seller shall provide to the closing attorney all information needed to obtain a written payoff statement from any lender(s)
           regarding any security interest in the Property as soon as reasonably possible after the Effective Date, and Seller designates
           the closing attorney as Seller’s agent with express authority to request and obtain on Seller’s behalf payoff statements and/or
           short-pay statements from any such lender(s).
           (iii) If Seller is not a foreign person as defined by the Foreign Investment in Real Property Tax Act, Seller shall also provide
           to the closing attorney a non-foreign status affidavit (pursuant to the Foreign Investment in Real Property Tax Act). In the
           event Seller shall not provide a non-foreign status affidavit, Seller acknowledges that there may be withholding as provided
           by the Internal Revenue Code.


                                                                  Page 6 of 13

                                                                         CK _______
                                                                                                                STANDARD FORM 12-T
                       Buyer initials CC
                                      _______ _______ Seller initials _______ CK                                       Revised 7/2022
                                                                                                                             © 7/2022
DigiSign Verified - 24eb4603-ddf8-4cb5-a2ad-a133f938fec2
             Case 312971d7-65c7-4d81-9a57-d5f129bd30f2
                      20-30208 Doc 181 Filed 03/14/23 Entered 03/14/23 09:15:19 Desc Main
     (b) Authorization to Disclose Information: Seller       authorizes: (1)
                                                       Document              any attorney
                                                                          Page     28 of presently
                                                                                           36         or previously representing Seller to release
     and disclose any title insurance policy in such attorney's file to Buyer and both Buyer's and Seller's agents and attorneys; (2) the
     Property’s title insurer or its agent to release and disclose all materials in the Property's title insurer's (or title insurer's agent's) file to
     Buyer and both Buyer's and Seller's agents and attorneys, and (3) the closing attorney to release and disclose any seller’s closing
     disclosure, settlement statement and/or disbursement summary, or any information therein, to the parties to this transaction, their real
     estate agent(s) and Buyer’s lender(s).

      (c) Access to Property: Seller shall provide reasonable access to the Property through the earlier of Closing or possession by Buyer,
      including, but not limited to, allowing the Buyer and/or Buyer’s agents or representatives an opportunity to (i) conduct Due Diligence,
      (ii) verify the satisfactory completion of negotiated repairs/improvements, and (iii) conduct a final walk-through inspection of the
      Property. Seller’s obligation includes providing existing utilities operating at Seller’s cost including any connections and de-
      winterizing. To the extent applicable, Seller shall also be responsible for timely clearing that portion of the Property required by the
      County to perform tests, inspections and/or evaluations to determine the suitability of the Property for a sewage system and/or private
      drinking water well.

       NOTE: See WARNING in paragraph 2 above for limitation on Buyer’s right to terminate this Contract as a result of Buyer’s
       continued investigation of the Property following the expiration of the Due Diligence Period.

      (d) Removal of Seller’s Property: Seller shall remove from the Property, by the date possession is delivered, (i) all personal property
      which is not a part of the purchase and (ii) unless otherwise agreed, all garbage and debris.

      (e) Affidavit And Indemnification Agreement: Seller shall furnish at Settlement an affidavit(s) and indemnification agreement(s)
      in form satisfactory to Buyer and Buyer’s title insurer, if any, executed by Seller and any person or entity who has performed or
      furnished labor, services, materials or rental equipment to the Property within 120 days prior to the date of Settlement and who may
      be entitled to claim a lien against the Property as described in N.C.G.S. §44A-8 verifying that each such person or entity has been
      paid in full and agreeing to indemnify Buyer, Buyer’s lender(s) and Buyer’s title insurer against all loss from any cause or claim
      arising therefrom.

      (f) Designation of Lien Agent, Payment and Satisfaction of Liens: If required by N.C.G.S. §44A-11.1, Seller shall have designated
      a Lien Agent, and Seller shall deliver to Buyer as soon as reasonably possible a copy of the appointment of Lien Agent. All deeds of
      trust, deferred ad valorem taxes, liens and other charges against the Property, not assumed by Buyer, must be paid and satisfied by
      Seller prior to or at Settlement such that cancellation may be promptly obtained following Closing. Seller shall remain obligated to
      obtain any such cancellations following Closing.

      (g) Good Title, Legal Access: Seller shall execute and deliver a GENERAL WARRANTY DEED for the Property in recordable
      form no later than Settlement, which shall convey fee simple marketable and insurable title, without exception for mechanics’ liens,
      and free of any other liens, encumbrances or defects, including those which would be revealed by a current and accurate survey of
      the Property, except: ad valorem taxes for the current year (prorated through the date of Settlement); utility easements and unviolated
      covenants, conditions or restrictions that do not materially affect the value of the Property; and such other liens, encumbrances or
      defects as may be assumed or specifically approved by Buyer in writing. The Property must have legal access to a public right of
      way.

       NOTE: Buyer’s failure to conduct a survey or examine title of the Property prior to the expiration of the Due Diligence Period
       does not relieve the Seller of their obligation to deliver good title under this paragraph.


       NOTE: If any sale of the Property may be a “short sale,” consideration should be given to attaching a Short Sale Addendum
       (Standard Form 2A14-T) as an addendum to this Contract.


       (h) Deed, Taxes, and Fees: Seller shall pay for preparation of a deed and all other documents necessary to perform Seller’s
      obligations under this Contract, and for state and county excise taxes, and any deferred, discounted or rollback taxes, and local
      conveyance fees required by law. The deed is to be made to: ________________________________________________________
                                                                   Ceila Caballero
      ________________________________________________________________________________________________________.

      (i) Agreement to Pay Buyer Expenses: Seller shall pay at Settlement $________________________
                                                                                     0.00                             toward any of Buyer’s
      expenses associated with the purchase of the Property, at the discretion of Buyer and/or lender, if any, including any FHA/VA lender
      and inspection costs that Buyer is not permitted to pay.



                                                                      Page 7 of 13

                                                                          CK _______
                                                                                CK
                                                                                                                       STANDARD FORM 12-T
                         Buyer initials CC
                                        _______ _______ Seller initials _______                                               Revised 7/2022
                                                                                                                                    © 7/2022
DigiSign Verified - 24eb4603-ddf8-4cb5-a2ad-a133f938fec2
            Case 312971d7-65c7-4d81-9a57-d5f129bd30f2
                     20-30208 Doc 181 Filed 03/14/23 Entered 03/14/23 09:15:19 Desc Main
     (j) Owners’ Association Fees/Charges: Seller                     Pageby29
                                                     shall pay any charges
                                                  Document                   an of
                                                                                owners’
                                                                                   36 association or a management company/vendor
     as agent of the association under paragraph 7(a) of this Contract.

     (k) Payment of Special Assessments: Seller shall pay, in full at Settlement, all Special Assessments that are approved prior to
     Settlement, whether payable in a lump sum or future installments, provided that the amount thereof can be reasonably determined or
     estimated. The payment of such estimated amount shall be the final payment between the Parties.

     (l) Late Listing Penalties: All property tax late listing penalties, if any, shall be paid by Seller.

     (m) Owners’ Association Disclosure and Condominium Resale Statement Addendum (Standard Form 2A12-T): If applicable,
     Seller shall provide the completed Owners’ Association Disclosure and Condominium Resale Statement Addendum to Buyer on or
     before the Effective Date.

     (n) Seller’s Breach of Contract: See paragraph 21 for Buyer’s remedies in the event of breach of this Contract.

  7. CHARGES BY OWNERS’ ASSOCIATION: Responsibility for payment of charges by an owners’ association or a management
  company/vendor as agent of the association shall be allocated between Buyer and Seller as follows:
      (a) Seller shall pay:
          (i) fees incurred by Seller in completing resale or other certificates related to a proposed sale of the Property;
          (ii) fees required for confirming Seller’s account payment information on owners’ association dues or assessments for payment
          or proration, including any expedite fee permitted under N.C. Gen. Stat. § 47F-3-102 that is charged in connection with providing
          such information;
          (iii) any fees charged for transferring or updating ownership records of the association; and
          (iv) any fees other than those fees specifically required to be paid by Buyer under paragraph 7(b) below.

      (b) Buyer shall pay:
           (i) charges for providing information required by Buyer’s lender;
           (ii) working capital contributions, membership fees, or charges imposed for Buyer’s use of the common elements and/or
           services provided to Buyer in connection with Buyer taking possession of the Property, such as “move-in fees”; and
           (iii) determining restrictive covenant compliance.

  8. PRORATIONS AND ADJUSTMENTS: Unless otherwise agreed, the following items shall be prorated, with Seller responsible
     for the prorated amounts of any taxes and dues through the date of Settlement, and Seller entitled to the amount of prorated rents
     through the date of Settlement, and either adjusted between the parties or paid at Settlement:
     (a) Taxes on Real Property: Ad valorem taxes and recurring governmental service fees levied with such taxes on real property shall
     be prorated on a calendar year basis;

     (b) Rents: Rents, if any, for the Property;

     (c) Dues: Owners’ association regular assessments (dues) and other like charges.

  9. CONDITION OF PROPERTY/RISK OF LOSS:
       (a) Condition of Property at Closing: If the Property is not in substantially the same or better condition at Closing as on the date
  of this offer, reasonable wear and tear excepted, Buyer may terminate this Contract by written notice delivered to Seller and the Due
  Diligence Fee and Earnest Money Deposit shall be refunded to Buyer. If the Property is not in such condition and Buyer does NOT elect
  to terminate this Contract, Buyer shall be entitled to receive, in addition to the Property, the proceeds of any insurance claim filed by
  Seller on account of any damage or destruction to the Property.

      (b) Risk of Loss: The risk of loss or damage by fire or other casualty prior to Closing shall be upon Seller. Seller is advised not to
  cancel existing insurance on the Property until after confirming recordation of the deed.

  10. DELAY IN SETTLEMENT/CLOSING: This paragraph shall apply if one party is ready, willing and able to complete Settlement
  on the Settlement Date (“Non-Delaying Party”) but it is not possible for the other party to complete Settlement by the Settlement Date
  (“Delaying Party”). In such event, the Delaying Party shall be entitled to a delay in Settlement and shall give as much notice as possible
  to the Non-Delaying Party and closing attorney. If the Delaying Party fails to complete Settlement and Closing within seven (7) days of
  the Settlement Date (including any amended Settlement Date agreed to in writing by the parties), then the Delaying Party shall be in
  breach and the Non-Delaying Party may terminate this Contract and shall be entitled to enforce any remedies available to such party
  under this Contract for the breach.




                                                                  Page 8 of 13

                                                                              CK
                                                                                                              STANDARD FORM 12-T
                       Buyer initials CC                               CK _______
                                      _______ _______ Seller initials _______                                        Revised 7/2022
                                                                                                                           © 7/2022
DigiSign Verified - 24eb4603-ddf8-4cb5-a2ad-a133f938fec2
             Case 312971d7-65c7-4d81-9a57-d5f129bd30f2
                     20-30208 Doc 181 Filed 03/14/23 Entered 03/14/23 09:15:19 Desc Main
  11. POSSESSION: Unless otherwise provided herein,       possession, Page
                                                   Document           including
                                                                              30allofmeans
                                                                                      36 of access to the Property (keys, codes including
  security codes, gate openers, electronic devices, etc.) shall be delivered at Closing as defined in Paragraph 1(m). No alterations,
  excavations, tree or vegetation removal or other such activities may be done before possession is delivered

  12. ADDENDA: CHECK ALL STANDARD ADDENDA THAT MAY BE A PART OF THIS CONTRACT, IF ANY, AND ATTACH
  HERETO. ITEMIZE ALL OTHER ADDENDA TO THIS CONTRACT, IF ANY, AND ATTACH HERETO.

     Additional Provisions Addendum (Form 2A11-T)                       Owners' Association Disclosure Addendum
     Additional Signatures Addendum (Form 3-T)                          (Form 2A12-T)
     Back-Up Contract Addendum (Form 2A1-T)                             Seller Financing Addendum (Form 2A5-T)
     Loan Assumption Addendum (Form 2A6-T)                              Short Sale Addendum (Form 2A14-T)

   Identify other attorney or party drafted addenda: ___________________________________________________________________
  ____________________________________________________________________________________________________________

    NOTE: UNDER NORTH CAROLINA LAW, REAL ESTATE BROKERS ARE NOT PERMITTED TO DRAFT ADDENDA
    TO THIS CONTRACT.


  13. ASSIGNMENTS: This Contract may not be assigned without the written consent of all parties except in connection with a tax-
  deferred exchange, but if assigned by agreement, then this Contract shall be binding on the assignee and assignee’s heirs and successors.

  14. TAX-DEFERRED EXCHANGE: In the event Buyer or Seller desires to effect a tax-deferred exchange in connection with the
  conveyance of the Property, Buyer and Seller agree to cooperate in effecting such exchange; provided, however, that the exchanging
  party shall be responsible for all additional costs associated with such exchange, and provided further, that a non-exchanging party shall
  not assume any additional liability with respect to such tax-deferred exchange. Buyer and Seller shall execute such additional documents,
  including assignment of this Contract in connection therewith, at no cost to the non-exchanging party, as shall be required to give effect
  to this provision.

  15. PARTIES: This Contract shall be binding upon and shall inure to the benefit of Buyer and Seller and their respective heirs,
  successors and assigns. As used herein, words in the singular include the plural and the masculine includes the feminine and neuter
  genders, as appropriate.

  16. SURVIVAL: If any provision herein contained which by its nature and effect is required to be observed, kept or performed after
  the Closing, it shall survive the Closing and remain binding upon and for the benefit of the parties hereto until fully observed, kept or
  performed.

  17. ENTIRE AGREEMENT: This Contract contains the entire agreement of the parties and there are no representations, inducements
  or other provisions other than those expressed herein. All changes, additions or deletions hereto must be in writing and signed by all
  parties. Nothing contained herein shall alter any agreement between a REALTOR ® or broker and Seller or Buyer as contained in any
  listing agreement, buyer agency agreement, or any other agency agreement between them.

  18. CONDUCT OF TRANSACTION: The parties agree that any action between them relating to the transaction contemplated by this
  Contract may be conducted by electronic means, including the signing of this Contract by one or more of them and any notice or
  communication given in connection with this Contract. Any written notice or communication may be transmitted to any mailing address,
  e-mail address or fax number set forth in the “Notice Information” section below. Any notice or communication to be given to a party
  herein, any fee, deposit of other payment to be delivered to a party herein, may be given to the party or to such party’s agent. Delivery
  of any notice to a party via means of electronic transmission shall be deemed complete at such time as the sender performs the final act
  to send such transmission, in a form capable of being processed by the receiving party’s system, to any electronic address provided for
  such party in the “Notice Information” section below. Seller and Buyer agree that the “Notice Information” and “Acknowledgment of
  Receipt of Monies” sections below shall not constitute a material part of this Contract, and that the addition or modification of any
  information therein shall not constitute a rejection of an offer or the creation of a counteroffer.

  19. EXECUTION: This Contract may be signed in multiple originals or counterparts, all of which together constitute one and the same
  instrument.

  20. COMPUTATION OF DAYS/TIME OF DAY: Unless otherwise provided, for purposes of this Contract, the term “days” shall
  mean consecutive calendar days, including Saturdays, Sundays, and holidays, whether federal, state, local or religious. For the purposes
  of calculating days, the count of “days” shall begin on the day following the day upon which any act or notice as provided in this Contract
  was required to be performed or made. Any reference to a date or time of day shall refer to the date and/or time of day in the State of
  North Carolina.
                                                                 Page 9 of 13

                       Buyer initials CC
                                      _______ _______ Seller initials _______ CK
                                                                       CK _______
                                                                                                               STANDARD FORM 12-T
                                                                                                                      Revised 7/2022
                                                                                                                            © 7/2022
DigiSign Verified - 24eb4603-ddf8-4cb5-a2ad-a133f938fec2
                    312971d7-65c7-4d81-9a57-d5f129bd30f2
             Case 20-30208           Doc 181        Filed 03/14/23 Entered 03/14/23 09:15:19                        Desc Main
                                                    Document      Page 31 of 36
  21. REMEDIES:
  (a) Breach by Buyer: In the event of material breach of this Contract by Buyer, any Earnest Money Deposit shall be paid to Seller. The
  payment of any Earnest Money Deposit and any Due Diligence Fee to Seller (without regard to their respective amounts, including zero)
  together shall serve as liquidated damages (“Liquidated Damages”) and as Seller’s sole and exclusive remedy for such breach, but
  without limiting Seller’s rights under Paragraphs 2(d) and 2(e) for damage to the Property. It is acknowledged by the parties that the
  amount of the Liquidated Damages is compensatory and not punitive, such amount being a reasonable estimation of the actual loss that
  Seller would incur as a result of a breach of this Contract by Buyer. The payment to Seller of the Liquidated Damages shall not constitute
  a penalty or forfeiture but actual compensation for Seller's anticipated loss, both parties acknowledging the difficulty determining
  Seller’s actual damages for such breach.

  (b) Breach by Seller: In the event of material breach of this Contract by Seller, Buyer may (i) elect to terminate this Contract as a result
  of such breach, and shall be entitled to return of both the Earnest Money Deposit and the Due Diligence Fee, together with the reasonable
  costs actually incurred by Buyer in connection with Buyer’s Due Diligence (“Due Diligence Costs”), or (ii) elect not to terminate and
  instead treat this Contract as remaining in full force and effect and seek the remedy of specific performance.

  (c) Attorneys’ Fees: If legal proceedings are brought by Buyer or Seller against the other to collect the Earnest Money Deposit, Due
  Diligence Fee, or Due Diligence Costs, the parties agree that a party shall be entitled to recover reasonable attorneys’ fees to the extent
  permitted under N.C. Gen. Stat. § 6-21.2. The parties acknowledge and agree that the terms of this Contract with respect to entitlement
  to the Earnest Money Deposit, Due Diligence Fee, or Due Diligence Costs each constitute an "evidence of indebtedness" pursuant to
  N.C. Gen. Stat. § 6-21.2.


    NOTE: A party seeking recovery of attorneys’ fees under N.C. Gen. Stat. § 6-21.2 must first give written notice to the other party
    that they have five (5) days from the mailing of the notice to pay the outstanding amount(s) without the attorneys’ fees.




                                            [THIS SPACE INTENTIONALLY LEFT BLANK]




                                                                Page 10 of 13

                                                                       CK _______
                                                                                                                STANDARD FORM 12-T
                       Buyer initials CC
                                      _______ _______ Seller initials _______ CK                                       Revised 7/2022
                                                                                                                             © 7/2022
DigiSign Verified - 24eb4603-ddf8-4cb5-a2ad-a133f938fec2
                    312971d7-65c7-4d81-9a57-d5f129bd30f2
            Case 20-30208           Doc 181       Filed 03/14/23 Entered 03/14/23 09:15:19                     Desc Main
                                                  Document® Page 32 of 36
  THE NORTH CAROLINA ASSOCIATION OF REALTORS , INC. AND THE NORTH CAROLINA BAR ASSOCIATION MAKE
  NO REPRESENTATION AS TO THE LEGAL VALIDITY OR ADEQUACY OF ANY PROVISION OF THIS FORM IN ANY
  SPECIFIC TRANSACTION. IF YOU DO NOT UNDERSTAND THIS FORM OR FEEL THAT IT DOES NOT PROVIDE FOR
  YOUR LEGAL NEEDS, YOU SHOULD CONSULT A NORTH CAROLINA REAL ESTATE ATTORNEY BEFORE YOU SIGN
  IT.

  This offer shall become a binding contract on the Effective Date. Unless specifically provided otherwise, Buyer’s failure to timely
  deliver any fee, deposit or other payment provided for herein shall not prevent this offer from becoming a binding contract, provided
  that any such failure shall give Seller certain rights to terminate the contract as described herein or as otherwise permitted by law.

  Date: _____________________________________________
        12/02/2022                                                                         12/05/2022
                                                                         Date: _____________________________________________

        Ceila Caballero
  Buyer:____________________________________________                                       Cynthia Kennedy
                                                                         Seller :____________________________________________

  Date:_____________________________________________                                        12/05/2022
                                                                         Date: _____________________________________________

  Buyer:____________________________________________                                       Calvin Kennedy
                                                                         Seller:_____________________________________________

  __________________________________________________                     __________________________________________________

  Entity Buyer:                                                          Entity Seller:
  _________________________________________________                      __________________________________________________
       (Name of LLC/Corporation/Partnership/Trust/etc.)                           (Name of LLC/Corporation/Partnership/Trust/etc.)

  By: ______________________________________________                     By: ______________________________________________

  Name: ___________________________________________                      Name: ____________________________________________
                          Print Name                                                             Print Name
  Title: ____________________________________________                    Title: _____________________________________________

  Date:_____________________________________________                     Date: _____________________________________________


                                                      WIRE FRAUD WARNING

   TO BUYERS: BEFORE SENDING ANY WIRE, YOU SHOULD CALL THE CLOSING ATTORNEY’S OFFICE TO VERIFY
   THE INSTRUCTIONS. IF YOU RECEIVE WIRING INSTRUCTIONS FOR A DIFFERENT BANK, BRANCH LOCATION,
   ACCOUNT NAME OR ACCOUNT NUMBER, THEY SHOULD BE PRESUMED FRAUDULENT. DO NOT SEND ANY
   FUNDS AND CONTACT THE CLOSING ATTORNEY’S OFFICE IMMEDIATELY.

   TO SELLERS: IF YOUR PROCEEDS WILL BE WIRED, IT IS RECOMMENDED THAT YOU PROVIDE WIRING
   INSTRUCTIONS AT CLOSING IN WRITING IN THE PRESENCE OF THE ATTORNEY. IF YOU ARE UNABLE TO
   ATTEND CLOSING, YOU MAY BE REQUIRED TO SEND AN ORIGINAL NOTARIZED DIRECTIVE TO THE CLOSING
   ATTORNEY’S OFFICE CONTAINING THE WIRING INSTRUCTIONS. THIS MAY BE SENT WITH THE DEED, LIEN
   WAIVER AND TAX FORMS IF THOSE DOCUMENTS ARE BEING PREPARED FOR YOU BY THE CLOSING
   ATTORNEY. AT A MINIMUM, YOU SHOULD CALL THE CLOSING ATTORNEY’S OFFICE TO PROVIDE THE WIRE
   INSTRUCTIONS. THE WIRE INSTRUCTIONS SHOULD BE VERIFIED OVER THE TELEPHONE VIA A CALL TO YOU
   INITIATED BY THE CLOSING ATTORNEY’S OFFICE TO ENSURE THAT THEY ARE NOT FROM A FRAUDULENT
   SOURCE.

   WHETHER YOU ARE A BUYER OR A SELLER, YOU SHOULD CALL THE CLOSING ATTORNEY’S OFFICE AT A
   NUMBER THAT IS INDEPENDENTLY OBTAINED. TO ENSURE THAT YOUR CONTACT IS LEGITIMATE, YOU
   SHOULD NOT RELY ON A PHONE NUMBER IN AN EMAIL FROM THE CLOSING ATTORNEY’S OFFICE, YOUR REAL
   ESTATE AGENT OR ANYONE ELSE.




                                                              Page 11 of 13
                                                                                                         STANDARD FORM 12-T
                                                                                                                Revised 7/2022
                                                                                                                      © 7/2022
DigiSign Verified - 24eb4603-ddf8-4cb5-a2ad-a133f938fec2
                    312971d7-65c7-4d81-9a57-d5f129bd30f2
           Case 20-30208          Doc 181       Filed 03/14/23 Entered 03/14/23 09:15:19                   Desc Main
                                                Document      Page 33 of 36
                                                    NOTICE INFORMATION
  NOTE: INSERT AT LEAST ONE ADDRESS AND/OR ELECTRONIC DELIVERY ADDRESS EACH PARTY AND AGENT
  APPROVES FOR THE RECEIPT OF ANY NOTICE CONTEMPLATED BY THIS CONTRACT. INSERT “N/A” FOR ANY WHICH
  ARE NOT APPROVED.
   BUYER NOTICE ADDRESS:                                            SELLER NOTICE ADDRESS:

   Mailing Address: ____________________________________            Mailing Address: _____________________________________

   ___________________________________________________              ___________________________________________________

   Buyer Fax #: ________________________________________            Seller Fax #:_________________________________________

   Buyer E-mail:_______________________________________             Seller E-mail:________________________________________

                                    CONFIRMATION OF AGENCY/NOTICE ADDRESSES

   Selling Firm Name: ___________________________________
                        Realty ONE Group Select                     Listing Firm Name:___________________________________
                                                                                          Allen Tate University
   Acting as 4 Buyer’s Agent  Seller’s (sub)Agent  Dual          Acting as 4 Seller’s Agent  Dual Agent

   Agent
                                                                    Firm License#:_______________________________________
                                                                                   C30590
   Firm License#: ______________________________________
                   C28839
                                                                    Mailing Address: ____________________________________
                                                                                      145 W W.T.Harris Blvd
   Mailing Address:_____________________________________
                    241 Singleton Rd Suite E4
                                                                    ___________________________________________________
                                                                     Charlotte NC 28262
   ___________________________________________________
    Mooresville NC 28117
                                                                    Individual Listing Agent:_______________________________
                                                                                              Arthur Cotton
   Individual Selling Agent:_______________________________
                             Carmen Brooks                           Acting as a Designated Dual Agent (check only if applicable)
    Acting as a Designated Dual Agent (check only if applicable)
                                                                    Listing Agent License#:________________________________
                                                                                            176858
   Selling Agent License#: _______________________________
                            302999
                                                                    Listing Agent Phone#:_________________________________
                                                                                          (704) 400-8100
   Selling Agent Phone#: ________________________________
                          (828) 228-3063
                                                                    Listing Agent Fax#:___________________________________
   Selling Agent Fax#: __________________________________
                                                                    Listing Agent E-mail:__________________________________
                                                                                          arthur.cotton@allentate.com
   Selling Agent E-mail: _________________________________
                          carmensoldit@gmail.com




                                                            Page 12 of 13

                                                                            CK
                                                                                                       STANDARD FORM 12-T
                     Buyer initials CC                               CK _______
                                    _______ _______ Seller initials _______                                   Revised 7/2022
                                                                                                                    © 7/2022
DigiSign Verified - 24eb4603-ddf8-4cb5-a2ad-a133f938fec2
           Case 312971d7-65c7-4d81-9a57-d5f129bd30f2
                    20-30208 Doc 181 Filed 03/14/23 Entered 03/14/23 09:15:19                                 Desc Main
                                     ACKNOWLEDGMENT
                                            Document OF   RECEIPT
                                                         Page 34 ofOF
                                                                    36MONIES
 Seller:______________________________________________________________________________________________(“Seller”)
         Calvin R Kennedy, Cynthia Kennedy


 Buyer:_____________________________________________________________________________________________(“Buyer”)
        Ceila Caballero


 Property Address:___________________________________________________________________________________(“Property”)
                   174 Jasmine Cir #36, Troutman, NC 28166

  LISTING AGENT ACKNOWLEDGMENT OF RECEIPT OF DUE DILIGENCE FEE

 Paragraph 1(d) of the Offer to Purchase and Contract between Buyer and Seller for the sale of the Property provides for the payment to
 Seller of a Due Diligence Fee in the amount of $________________,
                                                  500.00            receipt of which Listing Agent hereby acknowledges.

 Date_____________________________________                     Firm:____________________________________________________
                                                                     Allen Tate University

                                                               By:______________________________________________________
                                                                                     (Signature)
                                                               _________________________________________________________
                                                                Arthur Cotton
                                                                                     (Print name)

  SELLER ACKNOWLEDGMENT OF RECEIPT OF DUE DILIGENCE FEE

 Paragraph 1(d) of the Offer to Purchase and Contract between Buyer and Seller for the sale of the Property provides for the payment to
 Seller of a Due Diligence Fee in the amount of $________________,
                                                  500.00             receipt of which Seller hereby acknowledges.

 Date:___________________________________                      Seller: __________________________________________________
                                                                                       (Signature)

 Date:___________________________________                      Seller: __________________________________________________
                                                                                       (Signature)

  ESCROW AGENT ACKNOWLEDGMENT OF RECEIPT OF INITIAL EARNEST MONEY DEPOSIT

 Paragraph 1(d) of the Offer to Purchase and Contract between Buyer and Seller for the sale of the Property provides for the payment to
 Escrow Agent of an Initial Earnest Money Deposit in the amount of $_______________.
                                                                       500.00              Escrow Agent as identified in Paragraph 1(f)
 of the Offer to Purchase and Contract hereby acknowledges receipt of the Initial Earnest Money Deposit and agrees to hold and disburse
 the same in accordance with the terms of the Offer to Purchase and Contract.

 Date:___________________________________                      Firm: ____________________________________________________

                                                               By:______________________________________________________
                                                                                     (Signature)
                                                               _________________________________________________________
                                                                Alan Carpenter
                                                                                     (Print name)

  ESCROW AGENT ACKNOWLEDGMENT OF RECEIPT OF (ADDITIONAL) EARNEST MONEY DEPOSIT

 Paragraph 1(d) of the Offer to Purchase and Contract between Buyer and Seller for the sale of the Property provides for the payment to
 Escrow Agent of an (Additional) Earnest Money Deposit in the amount of $_______________. Escrow Agent as identified in Paragraph
 1(f) of the Offer to Purchase and Contract hereby acknowledges receipt of the (Additional) Earnest Money Deposit and agrees to hold
 and disburse the same in accordance with the terms of the Offer to Purchase and Contract.

 Date:_______________________________________                  Firm: ____________________________________________________

 Time: ____________________ AM  PM                           By:______________________________________________________
                                                                                     (Signature)
                                                               _________________________________________________________
                                                                Alan Carpenter
                                                                                    (Print name)

                                                             Page 13 of 13
                                                                                                        STANDARD FORM 12-T
                                                                                                               Revised 7/2022
                                                                                                                     © 7/2022
                          Case 20-30208                      Doc 181         Filed 03/14/23 Entered 03/14/23 09:15:19                                                             Desc Main
                                                                             Document      Page 35 of 36
 e. Settlement Statement                                                         U.S. Department of Housing
                                                                                   and Urban Development
                                                                                                                                                                                          -A
                                                                                                                                                                                          1r
                                                                                                                                            OMB Approval No. 2502-0265
          B, Type of Loan
      I   tr ti A 2 tr Rtls l.D Conv. Unins                            6. Filc Numbcr                      7. Loen Numbcr                         E. MonaSc lnsurancc Case Numhcr
      I   ! vA5 tr Conv. lns.                                           Caballero 174                       C&sh Purchasc
          C. Notc: This form is lumished lo give you a statcment ofactual scttl€mcnl cosls. Amounts paid to ard by thc settlcmenl agenl are sho\rn. Items markcd
          "(p.o.c)" werc paid outsidc the closingt they Erc shown here for informational purposcs and are not includcd in the totals.
          D. NAME OF BORROWER: Ccila Caballero

            ADDRESS OF BORROWER:
          E. \AI}IE OF SELLER:                             Calvin Ra! Kennedv and Cvnthia M Kenned\

            ADDRESS OF SELLER:                             4324 Sancrwythc Lahc. Charlonc. NC 2821J
          F. NAME OF LENDER:                              CASH PURCHASE

            ADDRESS OF LENDER:
          G. PROPERTY                                      174 ,asminc Circlc (Lot 16). Troutman. NC 281('6
             t.ocaTtoN:
          lD*
          H. SETTLEMENT AGENT:                            Alsn G. CsIpcntcr, PA., Attomcy ar La$
             PHt (7M) 8724242                             l3lt4 DlvicAvcnuc, St8tcsvillc, NC 28677
          PLACE OF SETTLEMENT:                             l3l8-C Davic Avcnuc. Srrresvillc. NC 28677
          I. SETTLE[IENI DATE:                             1212912022               Dilburt.mcnt lhl.:                                         Scnl.m.nt A8.rl T.r lD#: 20-()589716

          J. Summsry of Borrower's Trsnssction                                                      K. Summsry ofSeller's Tr8nsrction
m(
l0l. Contract salcs               cc                                                I     000.00     01. Contract sales               tcc                                                     t8.000.00
t02                                                                                                  02. Pcnional
10.1. Sctlcmcnl cha                   to borro\ter line I {00                             692.00    l()3
t04                                                                                                  OJ
t05                                                                                                  05
        urthanls for itamt
            ,,1d                                         sallar in sdrrnc.                                      ultment5 for itams                          srll.r in rdr'rnc€
106. ci /to$n te(es                                         ()                                               Ci /town laxcs                               to
107. Cou    la\cs                           12129t2022 ro W3                                0.1.r            Coun      ti\es                   12J29/2022 to 12/31 i2022                               r) :l.l
108. Asscssmenls                                       to                                                    Ass                                                lo
t09                                                          lo                                     log                                                            o
ll0                                                          lo                                       t0                                                        to
 ll                                                          lo                                     fll                                                         lo
  2                                                          to                                      12..                                                       k)

 20, Cross Amount Due from Borrorrcr                                                    18.692..U    20. Gross Amount Due To Sellcr                                                                t.fix).1.1



 0l                    it or eamcsl                                                       500.00          l. E\cess               1   sce inslructtons
 02. Princi               arnounl oincu                                                              02. Scnlcment c      lo s{llcr linc 1.100                                                 1. r36.00

 03. B(i                         taken su       ecl lo                                               03. Existi      s takcn sub ccl lo
                                                                                                     04


  5
                                                                                                    lot Pqv^ff^f<..^nd m.lnonoe lo6n

             l'rinci       amount of seller fin8nci                                                           Princi                  t ofscller financi
 01                                                                                                  07
                                                                                                     0lt            Dil           e Fee Paid to Sellcr                                              500 {x)
 08. Duc Dil                ncc Fce Paid to Seller                                        500.00
                                                                                                     09
 09
 09a.                                                                                                09a.
                                                                                                                                                                                      -
 09b.                                                                                                09b.
          ustm.nts for itlms u             id                                                         d ustnanG for itams uIl                  id bt rcllcr
 t0. ci               l&tcs                                  IO                                       10. c       /town tarcs                                      t0
                                                                                                                                                                   lo
 ll.        Coun^own
                   la\cs                                     lo                                                           t4\es
                                                                                                                                                                   lo
 12. Asscssmenls                                             to                                       12. Assessments
 ll                                                          to                                       tl                                                           kl
                                                                                                      t.l                                                          lo
  l
                                                             to                                       l5                                                           to
 l5
                                                                                                      16.                                                          lo
 l6
  t1                                                         lo                                       t7
                                                             lo                                       lll                                                          lo
  t8
  t9                                                         to                                       l9
             Tot.lAmount! Prid bY or in                                                                       Totsl Rrductiors in Amounl                                                           2.6J6.00
120.                                                                                     I,000.00
                                                                                                              Due Seller
             tleh rlf of Borrower
                                                                                                                                                       ll
                                                                                                                                                                                                     000.l.t
 01. c                  am u nt d ue from bono\r cr I nc I 20                           l8 692.3{          l. Gross smou due to scll                 linc.120                                  I

                                                                                                              L€ss rcduc I             ln am    nI d       I ler       I I nc 5   0                2.616 fi)
                                                          ar lin                          I 0m.00
 02. l,ess amounts                    d   /for bo
                                                                                                                                                                                               15.J6.r.3{
          . Cash         x From             To           Borrower                       l?.692.34             C!sh     EI'"                     From Scller




                                                                                                                                                                                                      I tr I)- t
                                                                                               PrSe I of2              02015 DisPltY Sysr.mt. lrc (t63)163-J5
 i[viotts cdilions uc obsolelc
                       Case 20-30208           Doc 181     Filed 03/14/23 Entered 03/14/23 09:15:19                                           Desc Main
                                                           Document       Page
                                               U,S. DEPARTMENT OF HOUSING AND   36 of 36
                                                                              UREAN DEVELOPMEN'I
                                                                          SETTLEMENT STATEMENT                                                                          l,A(ir:2
L. Seatleme na Chrrges
                 L SAL                                      race                     I8                                    t.t00.00   Prid Frorr            P.ld ftoa
          Division of Commission linc 700 as follo\s                                                                                  Borrowcr'l            Sr[!.rr
                        9m 00                                 lo Rcal oNE (i          Sclcct                                          Frod! At              Fl'nd.At
                     900.00                                   lo Allen Tate Unitclsit                                                 Scttlcocrt            S.ldGrcot
          Commission    id at Scttlcrhcnt                                                                                                                             LtO{) fi)
    04.
           I
     l. l.oan Ori ination Fec                            o/o lo
302. [,oan Discounl                                      o/o lo
     l.A         isal Fcc                                      lo
    04. Credil Re rl                                           lo
    05. Lender's Ins tion Fee
    06. M          Insurancc A licalion !'ee
 01                                                            lo
t0E                                                            to
809                                                            to
8t0
    II                                                         lo
    t2                                                         to
8rl                                                            lo
8t4                                                            to
     5                                                         lo
900. ltems Reouir.d Bv l,endlr To Be Psid ln Advance
,01. lnrcrcsl tiom                  1?/2912022 to l/U2023            o                      /da\
902. M      Insurancc Premium for                   months lo
903. Homeowner's lnsurancc for                       veals lo
,04                                                  veats to
,05                                                  ycsrs lo
1000. Reserves D.porited With L.nd.r
1001. llazard insurancc                                                  monlhsrd:                      ocr month
1002. Monpage insurancc                                                  months2--                      DCr month
l@3. Ciry.. Dropcnv ta,res                                               monthsA                        Der monlh
1004- Counlv DroDcrtv ta\cs                                              monthsa                        Der nronth
1005. Annual asscssments                                                 monthsr.i
1006                                                                     monthsa                        Der month
r007                                                                     monlhsz                        ner month
t008                                                                     monthsA                        Der monlh
t009
I100. Title Charpes
ll0l. Senlemert or closing fec                                 lo Alan C. CarDcnter. PA                                                       6{m 00
I102. Abstract or title search                                 l0
      .fitle
1103.          sramination
ll0.l. Title insumnce bindcr                                   t('
I 105. Documcnl DrcDara(ion                                    to Alan G. Carycnte( PA.                                                                                 3fi) (X)
1106. Nota fces                                                lo
1107. Attome)'s fccs                                           l()
      (includcs abote itcms numbcrs
I 108. I itle insuranc(:                                       to Tryon Tillc Agenc!, LLC                                                          66.([)
          I includcs   abovc itcms numbers
1109. Lendcr's coverate: Risk Premium                                                      INS AMl'
lll0. Orvnc/s cove       Risk Prcmium                                                      INS AMT
lll0a
                                                               lo
     t2                                                        k)
     tJ                                                        lo
1200. Cov.rnrn.nt R.cordins rnd Trrnsfer Chrrecs
1201. Recording Fccs: Deed $26.00;                                                                                                                 ?6.00
I 202.    Citr/countr ta\/stamDs
1203. State latstrm s: Decd          6.00                                                                                                                                 16.{x)
ltol                                   lo
1205                                   lo
I   300 Additionrl Settlem.nt CharE.s
1301. Surve                                                    l()
1302. Pest lnsDection                                          lo
ll0l. Roof lnsDcction                                          to
t301                                                           lo
t305                                                           lo
1306                                                           lo
r307                                                           t0
ll08                                                           lo
809                                                             to
l{}0. Totsl Setllcment Cha rBGs                 (cntrt orl lincs l0l. s.clion J r,rd 502, sccrior K)                                           692.00                 :.! J6.(X)
                                                                                CERTIFICATTON                                                 Datq 1Z/Zg/2022
I have carcfully revicwed the HUDI Sc cm.nt Surcmcnt and ro thc bcsr ofm) knorrlcdg. and belicf, it is a truc and accuml. sutcmenl ofall rcccipls and
disburscments madc on m, account or by mc in this tr0nsaction. I furthcr ccnify that I havc received a cop]., ofthc D-l Settlcmcnl slatemcnt


C-n,Ior
Ceila Caballero
                                l^la- r-.-                                  Borower                4/.             nned\
                                                                                                                                                               Scllcr

                                                                            Borrowet                                                                           Scllcr
                                                                                                          t!t. K
The ltuD-l Senlerncnl Statcmc_nt \ahich I havc prcparcd is a lruc tnd accutat"ccouot of this ttansaction' I havc caus'd lhc funds lo b! disburscd in
accordance \riti this statcmcm.         ./                           Alan C. Csrpcnrcr, PA., AnorDcy at t ala
                                             Z---' -                                                                                           'l?lalpLD^tE


                                                                                          Page 2 of 2                                                          Crbrllcro ll{
